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                   EXHIBIT A
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                                                                                                                 US011019372B2

  ( 12) United States Patent                                                       ( 10) Patent No .:                        US 11,019,372 B2
            Van Zijst                                                               (45) Date of Patent :                               May 25, 2021
   ( 54 ) LAYERED MULTICAST AND FAIR                                           ( 56 )                                References Cited
            BANDWIDTH ALLOCATION AND PACKET
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   (22) Filed :       Jan. 29 , 2016                                           Engineering Task Force of the Internet Society, Reston , VA , USA .
                                                                                                                       (Continued )
   (65 )                 Prior Publication Data
                                                                               Primary Examiner Michael H Hong
            US 2016/0150256 A1            May 26 , 2016                        (74 ) Attorney, Agent, or Firm — Vincent J. Allen ; James
                                                                               H. Ortega ; Carstens & Cahoon , LLP
                   Related U.S. Application Data                               ( 57 )                                 ABSTRACT
                                                                               Embodiments include an overlay multicast network . The
   ( 60 ) Division of application No. 13 / 619,969 , filed on Sep.             overlay multicast network may provide a set of features to
             14 , 2012 , now Pat. No. 9,414,094 , which is a                   ensure reliable and timely arrival of multicast data . The
                                ( Continued )                                  embodiments include a congestion control system that may
                                                                               prioritize designated layers of data within a data stream over
   ( 51 ) Int . Cl .                                                           other layers of the same data stream . Each data stream
          H04N 21/2343                ( 2011.01 )                              transmitted over the network may be given an equal share of
            H04L 29/12                ( 2006.01 )                              the bandwidth . Addressing in routing tables maintained by
                                ( Continued )                                  routers may utilize summarized addressing based on the
   ( 52 )   U.S. CI .                                                          difference in location of the router and destination address .
            CPC         H04N 21/234327 ( 2013.01 ) ; H04L 1/1874               Summarization levels may be adjusted to minimize travel
                             (2013.01 ) ; H04L 1/1887 ( 2013.01 ) ;            distances for packets in the network . Data from high priority
                             (Continued )                                      data stream layers may also be retransmitted upon request
   ( 58 ) Field of Classification Search                                       from a destination machine to ensure reliable delivery of
            CPC                                                                data .
                                     HO4N 21/2662 ; H04N 21/234
            See application file for complete search history.                                       15 Claims , 12 Drawing Sheets
                                                        CLIENT
                                                                                             APP


                                                       UBRARY      103                    LIBRARY

                                                                                                       -121
                                                                                                              -100
                                                                  OVERLAY NETWORK

                                                                         TCP              de.mxs , 1




                                                       nl.mxs.2                           aimxs.3
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                                      FIG . 1


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                                                         mi, mxs , 3
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                             227                                                      229 223 221


                                                   225
        FIG
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                            209


                                  ADPTOR                 201          INTERFACE                                                  TCP

                 219
                       RSKEPLCTON C1MULTEI0PNTXOR KERN L                              257 ww~203                      263
                                 ADPTOR                                                   259      1261
                                                                                                            1201265
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                                      FIG . 3A




                                                             S2.C




                                      FIG.3B

                      ROUTING TABLE OF NODE $ 2.0

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                                       FIG.5A
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                                       RIG.5B

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                                            FIG.6

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                                     FIG .




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                       FIG.84




                            ?




                       FIG . 8B
                  RECEIVE PACKETS




                       REQUEST




                RETRANSMIT PACKET
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                        RECVR                                                                                     STOCKPET
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    FIG.9A                                             905
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             MULTICAS
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                        RECVR ROUTERKERNL
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    FIG.9B                                        906
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                                                  -907                  943

             MULTICAS
                                                                               #AX



                                   ROUTER                                10+
                                                                                                           ;




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                                                  903
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                                 CSCO

     FIG.1A                             FIG.11B
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                                                         US 11,019,372 B2
                                   1                                                                           2
             LAYERED MULTICAST AND FAIR                                   the network . However, since the network is available to
        BANDWIDTH ALLOCATION AND PACKET                                   anyone, this rate will continuously change. A transmission
                        PRIORITIZATION                                    rate is selected and the packet loss is accepted . However,
                                                                          when packets are dropped randomly by overloaded routers
              CROSS - REFERENCE TO RELATED                              5 the data stream will suffer packet loss . If additional packets
                       APPLICATIONS                                          are sent through the bottleneck router, there is a larger
                                                                             chance that the router will choose one of these packets when
      This application is a divisional of pending U.S. patent                ready to send another packet, implicitly rewarding heavy
   application Ser. No. 13 / 619,969 , filed Sep. 14 , 2012 , which          streams during congestion . This encourages sending redun
   is a continuation of U.S. patent application Ser. No. 12/486 ,       10
                                                                             dant data thereby exacerbating the problem .
   656 , filed Jun . 17 , 2009 , now U.S. Pat . No. 8,514,718 , which           A more fundamental problem of flow control using the
   is a divisional of U.S. patent application Ser. No. 11/342 ,              Internet Protocol is that slowing down the data may not be
   167 , filed Jan. 26 , 2006 , now U.S. Pat. No. 7,733,868 , which          an option for certain types of live data streams. However,
   claims priority to U.S. Provisional Application No. 60/647 ,
   601, filed Jan. 26 , 2005, all of which are incorporatedby 15
   reference as if set forth in full herein .
                                                                             packetdatalossistypesunavoidable
                                                                             while                             usingandthevideo
                                                                                                     such as audio         InternetdataProtocol and
                                                                                                                                        can usually
                                                                             withstand some packet loss without becoming too corrupted
                  FIELD OF THE INVENTION                                     to play, this does not apply to all types of live data. Real- time
                                                                             financial data , for example, will become useless and even
     The invention relates to network management. Specifi- 20 dangerous to use if random packets of trades are lost .
   cally, the invention relates to the management of data                             BRIEF DESCRIPTION OF THE DRAWINGS
   packets to support multicasting.
                          BACKGROUND                                            Embodiments of the invention are illustrated by way of
                                                                25 example and not by way of limitation in the figures of the
     Despite the versatility in digital communication , interop- accompanying drawings in which like references indicate
   erability and internationally accepted communication pro-                 similar elements . It should be noted that references to " an "
   tocols of the Internet, its fundamental design has not or " one " embodiment in this discussion are not necessarily
   changed much since its conception and does not excel in
   everything. Watching live TV for example is something 30 toonethe. same embodiment, and such references mean at least
   which is not typically done over the Internet, even though      FIG . 1 is a diagram of one embodiment of an overlay
   television has been around almost twice as long as the multicast network .
   Internet Protocol and represents a huge market. The reasons     FIG . 2 is a diagram of one embodiment of the basic
   for this are based on the design of the Internet and Internet components   of a router daemon in the overlay multicast
   Protocol (IP) .                                              35
      The Internet is a packet-switching network where data is system     .
                                                                     FIG . 3A is diagram of one example embodiment of a
   exchanged in small units or packets that are independently layered       multicast system network divided into logical clus
   transported over the network and concatenated again at the ters    .
   receiver into its original form . A strength of packet -switch
   ing is that it allows for very flexible use of the physical 40 FIG . 3B is a diagram of a routing table for the network of
   network wires . When two communicating parties have no FIG . 3A .
                                                                     FIG . 4 is a diagram of an example network with hierar
   data to exchange for a certain period of time , no packets are chical
   sent and the wires can carry packets from other parties. On            structure .
   the Internet, bandwidth is not reserved , but available to and   FIG . 5A is a diagram demonstrating summarization of an
   shared by everyone. The consequence is that it cannot 45 example network with an S2 domain .
   guarantee a minimum amount of end- to - end bandwidth ,          FIG . 5B is a diagram demonstrating the stretch factor for
   making live video streams often appear jerky because the example network of FIG . 5A and shows the inner
   frames are skipped due to congestion that delays or prevents network of the S2 domain .
   delivery.                                                        FIG . 6 is a diagram of an example embodiment of a
      Even though with help from specialized protocols such as 50 multicast distribution or “ sink ” tree .
   Distance Vector Multicase Routing Protocol (DVMRP) or            FIG . 7 is a diagram of an overlay multicast network with
   Protocol Independent Multicast (PIM) , the Internet Protocol a failed link .
   allows for data packets to be multicast to a large number of     FIG . 8A is a flowchart of one embodiment of a process or
   receivers simultaneously, using this feature to successfully managing
   realize a live video broadcast is a challenge. A video stream 55 FIG . 8B congestion   in the overlay multicast system .
   is transmitted at a fixed high rate and not all parts of the handling layer repair. of one embodiment of a process for
                                                                              is a flowchart
   network are likely to have sufficient bandwidth available to     FIG . 9A is a diagram of two router daemons connected by
   forward the stream .
      When a bandwidth bottleneck is reached, the router a link .
   discards the packets that cannot immediately be forwarded . 60 FIG . 9B is a diagram of two router daemons connected by
   This causes two problems. The data stream that is eventually a link   where a retransmission is requested .
                                                                    FIG . 10 is a diagram that shows the process of selective
   received by one or more receivers further down the network
   is corrupt and the congestion also has a negative impact on packet repair and ordering.
   communication sessions of other nodes that communicate           FIG . 11A is a diagram showing thinning of a stream of
   through the bottleneck router. The only way to avoid this 65 data.
   problem using the Internet Protocol and standard multicast       FIG . 11B is a diagram of a multi - level token ring struc
   is to find a transmission rate that is supported by all parts of          ture .
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                                                        US 11,019,372 B2
                                  3                                                                     4
     FIG . 11C is a diagram of a multi - level token ring structure       soon as a firewall allows for only a single TCP connection
   showing thinning of data .                                             between an internal and an external POP, all software routers
                                                                          connected to the internal one can talk to all POPs connected
                   DETAILED DESCRIPTION                                   to the external one , and vice versa , without restriction .
                                                                      5
                                                                             In one embodiment, the overlay multicast routing system
      To provide multicast services a network needs to support            also manages flow control and timely delivery. Non inter
   one -to - many communication that can send data packets                active live data streams do not actively anticipate network
   from a data source to more than one receiver, ideally without          congestion . To manage congestion the network manages the
   putting extra stress on the network or source when the                 available bandwidth to allow for fair or equal division
   number of receivers increases. Multicast routing can be 10             among the streams. Without management, high volume
   offered by different methods. One method is to let receivers           streams are assigned a larger capacity percentage on over
   tell the network, but not necessarily the source, which data           loaded links resulting in little benefit in keeping the band
   streams they want to receive and let the network compute               width requirements of a stream low, as the packet loss
   data distribution paths that deliver just the right packets to
   each receiver. Multicasting can also be done by letting the 15         percentage is determined by how much the network is
                                                                          overloaded by all streams combined and not by the require
   source encode the list of receivers in each data packet,
   thereby freeing the network from the potentially computa               ments of the individual streams. An alternative to letting the
   tionally intensive task of maintaining multicast distribution          network handle the flow control and congestion is to put the
   paths. However, this method does not scale to handle a large           responsibility at the source and receivers . However, letting
   number of receivers. A third method relies on logic at the 20 data streams anticipate network conditions requires a form
   receivers by letting the network apply a broadcast mecha-              of feedback information from the network or the receivers .
   nism whereby each packet is delivered to every connected               In this case it is beneficial that the amount of feedback does
   node and letting the receivers filter out only those packets           not grow linearly with the size of the audience, as that would
   that are interesting. This method may also generate a heavy            reduce the scalability of the multicast. Even when a scalable
   load on a larger network but it is simple .                        25 form of feedback information can be realized and the data
      In one embodiment, a multicast network is constructed as           stream adapts its transmission rate according to the network
   an overlay network . In one embodiment, the overlay net-              conditions , the problem remains that live streams lose their
   work includes a number of software implemented routers                value when they are slowed down and delivered late.
   connected by normal IP or TCP connections. A mesh is                     In one embodiment, an overlay multicast system also
   created in which every software router is connected to one         30 implements or manages delivery of packets including an
   or more other software routers by means of virtual connec-            option for guaranteed delivery . It would be ideal if every
   tions that appear to be direct connections to the other               receiver would receive the data stream without loss or
   software routers , but are likely implemented by a number of          corruption. However, when the content is ' live ' and cannot
   intervening traditional TCP / IP routers situated between the         be slowed down , but the network has insufficient capacity,
   software routers . Two routers that are connected this way,        35 packet loss is difficult to avoid . In fact, even when there is
   are adjacent in the perspective of the overlay, but in reality        sufficient bandwidth at all times , store -and - forward packet
   are many physical hops away from one another. Also , a                switched networks are not able to guarantee the delivery of
   software router that has three software router neighbors has          all packets. For example, when a router crashes, all packets
   three independent virtual links. However, it is possible that         in its buffers may be irrecoverably lost . If a network uses
   this software router only has a single physical network            40 dynamic routing , packets are also dropped when routing
   connection that is shared by the three virtual links .                policies change or packets are trapped in an occasional ,
      To the underlying network , the overlay network is nothing         temporary routing loop . In cases where packets are “ acci
   more than a collection of applications that send data between         dentally’ lost , an end- to - end mechanism of retransmissions
   static pairs . Beyond each router pair (identifiable by their         can be applied that can compensate for the loss . However,
   TCP connection ) there is no relation between the individual       45 since this requires a form of feedback information, it is
   daemons . As such , the overlay network can easily work               beneficial for reasons of scalability that the overhead
   through firewalls , NAT ( IP masquerading ), proxies and              involved with retransmissions is not linearly related to the
   VPN's . Firewalls cannot control which software router                size of the audience .
   POPs can talk to each other. The system shares some                      End - to - end retransmission feedback may be avoided in at
   principals with a HTTP proxy server tunneling traffic to and       50 least two ways. First , it is possible to let the network
   from web browsers . In an example HTTP proxy server                   components keep a copy of the most recently forwarded
   system , an intranet has two web browser machines . They              packets and let them participate in retransmissions by inter
   both browse the Internet using the proxy server also on the           cepting the retransmission requests and servicing them
   local intranet. Although the individual web browser                   locally. This approach often utilizes greater storage and
   machines can surf the net individually, they never make a          55 increased processing power requirements at the network
   direct connection with a remote webserver, but only with the          components.
   local proxy server that acts like a relay point. As such , the           The second alternative to end - to - end retransmission
   firewall that sits between the proxy server and the remote            requests is that of encoding redundant information in the
   webserver can only choose to either allow the proxy server            data packets. If enough redundancy is encoded , lost
   to talk to the webserver or deny it . It is generally unable to    60 packet’s content may be entirely recovered from the extra
   enforce unique policies for individual browser machines . It          information in the other packets . The downside of this
   generally cannot tell on behalf of which client the proxy             system is that it comes with a constant level of bandwidth
   server is fetching a webpage . Returning to the overlay               overhead that is related to the level of packet loss tolerance ,
   network , because each software router is a relay point that          regardless of whether packets are actually lost . Each of these
   tunnels data traffic for different senders and receivers similar   65 approaches to packet loss fail in the case of a live data stream
   to a HTTP proxy server, firewalls have no fine -grained               that produces more bytes than the network can forward .
   control over communication over the overlay network . As              When local or end - to -end retransmission requests are used ,
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                                                        US 11,019,372 B2
                                  5                                                                       6
   the problem may even be increased as the retransmission the router's unique address. Router daemons have a unique
   requests use extra bandwidth , causing more data packets to address, while user applications connected to a router dae
   be lost .                                                         mon are identified through logical ports.
      Embodiments of the overlay multicast system are                  In one embodiment, the topology of the overlay network
   designed to offer an end- to - end solution to efficiently mul- 5 may be configured at router daemon startup. The topology
   ticast live data including stock market data to any machine may be relatively static after configuration. In one embodi
   connected to the Internet. The system is capable of giving ment, the relationship of router daemons to applications may
   certain hard guarantees over what is delivered to receivers . be one to many, with a single router daemon serving
   If packets must be dropped due to congestion or other multiple applications. In another embodiment , the relation
   irrecoverable problems, it is done in a fully deterministic 10 ship may be many to many.
   way that does not corrupt the data. Where a receiver of data        In one embodiment, the data packets in the overlay
   such as a viewer of a film may accept the random loss of one network may be addressed to a single communication end
   or two video frames, this type of data loss may wreak havoc point or to abstract multicast addresses. Single communica
   in financial data when the missed packet contains an impor- tion endpoints are network addresses used by user applica
   tant trade. The system supports deterministically delivery 15 tions . Access to them is exclusive such that only one user
   designated parts of a data stream when the network lacks application can use them for sending and receiving packets
   sufficient capacity. The system utilizes a layered multicast at a time .
   with data streams subdivided into individual streams or         In one embodiment, a unique network address in the
   layers. This allows receivers to subscribe to only those overlay network that is used by an application is the com
   layers that the network can handle, so that random packet 20 bination of a logical node address assigned to the overlay
   loss can largely be avoided .                                            router and the port name chosen by the application . If an
      In another embodiment, an enhanced form of layered                    application that is connected to an overlay router with the
   multicast is used that guarantees complete delivery for                  logical node address “nl.msx.1” wants to use a port named
   certain layers to avoid random loss altogether, making it                " myport " for receiving unicast data packets , the fully quali
   suitable for certain types of critical data such as market data .   25   fied network address becomes “ n1.mxs.1:myport .” Other
   The system is characterized as controlling two primary                   applications connected to the overlay network that want to
   activities . The first activity is running and managing a robust         send packets to this application can use this as a destination
   and scalable overlay network that uses its own routing                   address. Ports may be referred to as tports. Overlay network
   algorithms and supports multicast, while the second activity             addresses must be bound , prior to sending or receiving
   is managing flow control and congestion when live streams           30   packets. When a data packet is sent from an endpoint address
   overload the network and ensuring layered multicast can be               it will contain this information as its source, allowing other
   offered with guarantees.                                                 routers or the receiving application to send a response .
      FIG . 1 is a diagram of one example embodiment of an                     In one embodiment, the overlay network may support
   overlay multicast system . In one embodiment, the system                 packets being sent to abstract multipoint destinations, or
   includes an overlay network 100 that includes a number of           35   multicast addresses. An overlay network multicast address is
   software router daemons 109 , 115 , that are interconnected              a destination that each machine on the network may sub
   by normal TCP connections 119 or similar reliable commu-                 scribe to . The overlay network software routers ensure that
   nication connections. The overlay multicast system forms an              a copy of each data packet published to this multicast
   intricate web of routers and virtual links similar to the                address is delivered to every user application that subscribed
   Internet, but operating on the application layer. This system       40   to it . In one embodiment, multipoint destinations are single
   operating at the application layer " overlays ' the physical             sourced . Only one application can publish data packets to
   network and other layers of the Internet providing its own               the multicast address, making the overlay network suitable
   system of routing, controlling the lower levels of the net-              for one to many, but not many to many communications.
   work . Any number of routers and client applications may be              Because a tport session of a multicast address can be freely
   a part of the system . In the example , two of the routers 109 ,    45   chosen , each multicast address explicitly contains the loca
   115 are in communication with local client applications 101 ,            tion of the source on the overlay network . This makes
   111 .                                                                    multicast communication less flexible because publishing is
      In one embodiment, each of the routers have a unique,                 not anonymous, but it greatly simplifies subscription man
   string -based addresses 117. In another embodiment, the                  agement. In another embodiment, multiple applications may
   routers may have other types of unique addresses such as            50   publish to a multicast address and many to many commu
   numerical addresses. Each of the router daemons 109 , 115                nication is supported .
   executes a routing algorithm that computes the shortest                     In one embodiment, both unicast and multicast addresses
   paths that allows each router to send data packets to any are syntactically equal . For example, the address “ nl.mxs.1 :
   other router in the overlay multicast system as well as any timeservice” could be a unicast address used and bound by
   machine in communication with these routers .                  55 an application that provides the local date and time in
      In one embodiment, the system includes a runtime client response to any data packet it receives . However, it could
   library 103 , 113 , application programming interface (API ) or also be a multicast address that anyone can subscribe to . For
   similar system for sending and receiving packets that can be example , subscription to the address may provide periodic
   utilized by user applications to communicate over the sys- date and time broadcasts from the user application that
   tem . This library connects an application to a nearby system 60 bound this address as a multicast address. In one embodi
   router daemon 109 , 115 through a TCP connection 107 , 121 , ment, each packet may contain a flag or similar indicator that
   native inter -process communication or similar communica- indicates whether its destination address should be inter
   tion method . The native inter -process communication preted as a unicast or multicast address .
   method may be used if both the router and the client                In one embodiment, the overlay network provides a set of
   application run on the same physical machine . When con- 65 higher layered protocols as services over the packet oriented
   nected to a router daemon , the client application 101 , 111 base layer. These services may be referred to as protocol
   can send and receive data packets from the network under endpoints. Any number of protocol endpoints may be
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   defined and supported. In one embodiment, five protocol                  portion of the table in a data packet and passing it to each
   endpoints may be supported. A unreliable unicast protocol                interface . In one embodiment, if this type of packet is
   ( UUP ), a reliable unicast protocol (RUP ), unreliable multi-           received from a neighbor and propagated to the kernel 201
   cast protocol (UMP ), ordered layered multicast protocol                 through the receiving interface, the kernel inspects the
   ( OLMP) and reliable ordered layered multicast protocol             5    message and analyzes it through the routing algorithm . If the
   (ROLMP) may be supported . The UUP offers a best effort                  new information leads to changes in routing entries, the
   unicast datagram service to applications. The RUP offers                 router sends its own related routing entries to all its neigh
   reliable unicast communication between peers. The UMP                    bors .
   offers best effort multicast datagram services to applications              In one embodiment, if a neighbor router crashes, the
   on the overlay network . The OLMP offers multicast com-             10   interface detects this through an error on the virtual link and
   munication with receiver driven rate control. Complete                   passes an indicator to the routing algorithm . The routing
   delivery is not guaranteed , but the packets that are received           algorithm then changes the cost indication associated with
   are guaranteed to be in their original order. The ROLMP                  the link to an infinite value or similar value indicating that
   offers reliable multicast communication with receiver driven             the link should not be utilized . In one embodiment, the
   rate control. Stream layering allows each subscriber to             15   kernel 201 does not distinguish between a crashed neighbor
   receive the data stream in the highest possible quality, while           and an infinitely slow link . The kernel 201 only detects that
   the source never has to slow down .                                      the link is not to be utilized when reading the entry in the
       FIG . 2 is a diagram of one embodiment of the basic                  routing table .
   components of a router daemon in the overlay multicast                      In one example, when a source application connected to
   system . Each overlay network router 109 includes a packet          20   router s wants to publish a live data stream to multicast
   switching core or kernel 201. In one embodiment, packets                 group s mygroup
                                                                                    :           , where applications on node p and q want
   that are received, either from a connection to a neighbor                to receive it , the source may first bind the group in publish
   router or from a connected application , pass through the                mode. Binding a multicast group in publish -mode means
   kernel 201. The kernel 201 may not handle some specialized             that the group is owned by the binding process. Only the
   control packets. The task of the kernel 201 is to inspect the       25 owner of the group is able to publish to it . The receiving or
   destination of each packet and use a set of routing tables to          “ sink ” applications connected to routers p and q now bind
   determine how to forward the packet.                                   group s mygroup
                                                                                    :          in subscribe - mode . Binding a multicast
       In one embodiment, the kernel 201 forwards packets to              group in subscribe -mode results in the router node being
   neighbors through a set of interface modules 203 , 205. In             connected to a virtual multicast distribution tree . The sub
   one embodiment, the kernel 201 may execute on its own               30 scribers receive a copy of any packet published by the
   thread and be event driven . The kernel 201 remains idle until           source .
   it is notified by an interface module 203 , 205 of an incoming  In one embodiment, multicast groups do not necessarily
   packet or by an application 227 that is sending a packet. Theneed to be bound in publish -mode first. Any application may
   kernel thread is woken up , reads the packet from the        subscribe to any multicast group at any time . If there is no
   interface module or application and processes it . If the 35 source , there will be no data to receive . Binding a multicast
   kernel decides that the packet must be sent out through an   group either in publish -mode or subscribe -mode are distinct
   interface , it passes it to that interface and waits for the next
                                                                operations. When the source also wants to receive a copy of
   notification .                                               its own stream , it binds its group in subscribe -mode and uses
      In one embodiment, each router daemon in the network is the resulting tsocket to read the data back . Data packets
   connected to one or more neighbors. This is done by 40 carry both the address of their source application , as well as
   establishing connections between the routers . In one the network address of their destination .
   embodiment, the connections may be long lived TCP con-      For unicast packets , the router uses its unicast routing
   nections or similar communication connections. In one table to find the preferred next hop , while multicast packets
   embodiment, a router daemon 109 runs one interface mod- are routed according to a subscription list in a multicast
   ule 203 , 205 instance for each configured neighbor or 45 subscription table . In one embodiment, a unicast data packet
   configured communication channel. In another embodiment, contains the node address of the source router, the tport of
   the router 109 may run multiple interface modules for a the source application, the address of the destination router
   configured neighbor or communication channel or a single and the tport of the destination application . A multicast data
   interface module for multiple configured neighbors or com- packet contains the multicast group it was published to ,
   munication channels. The responsibility of an interface 50 represented by the node address of the source router and the
   module 203 , 205 is to establish a connection , e.g. , a TCP group identifier that was bound by the source application . It
   connection, and to pass packets from the kernel 201 to the does not contain any other addressing information .
   connection and vice versa . Packets of the first kind are       In one embodiment, the overlay multicast system deter
   referred to as outbound packets, while the latter are inbound mines unicast routing tables and multicast subscription
   packets.                                               55 tables for each router. The system utilizes any type of routing
     In one embodiment, the kernel 201 maintains a unicast algorithms or protocols to determine routing tables. Proto
   routing table that is used for packet switching . To make it             cols that are utilized include distance - vector protocols and
   possible for the network to find shortest paths as well as link - state protocols. Link - state protocols take the relatively
   adjusting these paths when the underlying physical net- simple approach of propagating the state of the entire
   work's characteristics change, each interface module may 60 network as a list of all known links in the network with their
   measure the quality of its virtual connection . These mea- cost . Distance - vector protocols are based on the Bellman
   surements are passed on to the kernel 201 when the link Ford protocol. They work by letting every router periodi
   quality is found to have changed . Inside the kernel 201 , the cally advertise its own routing table to its neighbors. In one
   measurements may be fed to a routing algorithm to deter- embodiment, the Extended Bellman -Ford protocol , hereafter
   mine if the changed link quality alters any of the entries in 65 referred to as ExBF, is used as the basis of the overlay
   the routing table. If the routing table is changed , it is multicast network . For sake of convenience, the embodi
   advertised to the neighbors by encoding the entire table or a ments of overlay multicast system are described that utilize
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   the ExBF, however, those of ordinary skill in the art would              a simple programming interface. In another embodiment, the
   understand that other routing algorithms may also be uti-                software plug - ins may have any implementation structure
   lized .                                                                  including objected oriented structures. This interface allows
      In the ExBF protocol, a slight increase in the amount of              interceptor instances to be chained together, forming a
   information is kept for every destination . Instead of storing      5 packet processing pipeline. The contract of an interceptor is
   just the distance to each destination for every neighbor,             that it receives a packet , applies it operations and then passes
   ExBF also stores the address of the pre - final node of each             the modified packet to the next interceptor in the chain .
   path . Hence , instead of storing the collection of distances               In one embodiment, an interceptor pipeline 251 , 257 sits
   {Di( i) } where j represents a destination, D the distance               between the router switching core and the network connec
   between this node and j , while i ranges over the node's            10   tion . When the router kernel 201 delivers a packet to the
   neighbors, each router also stores { Pi ( ) } where P is the             interface module 203 , 205 for transmission to the neighbor
   pre - final, or so - called “head -of-path ' node in the shortest        router, the interface module runs the packet through the
   path to destination j . Now because the router knows the                 interceptor pipeline , giving the interceptors the chance to
   pre - final node of every destination , it can backtrack the full        modify the packet. Each packet that comes out of the
   path to any destination by recursively looking at the head-         15   pipeline is transmitted to the neighbor router.
   of- path of a destination and treating it as a new destination .            In one embodiment, each interface module 203 , 205 has
      In one embodiment, the interface modules 203 , 205                    two interceptor pipelines 251 , 257. The first interceptor
   implement a simple algorithm to establish the communica-                 pipeline 257 is used to process outbound packets. The
   tion connection to the neighbor machine or device. The                   second interceptor pipeline 251 is used for inbound packets .
   interface module 203 , 205 attempts to connect to the con-          20   These pipelines are independent of one another, the ordering
   figured neighbor router by actively trying to connect to its             of the interceptors and the number of processing steps can be
   network address, e.g. , its TCP/IP network address . If the              different for inbound and outbound packets . Each pipeline
   connection is aborted with a connection refused or other                 can be configured uniquely. Interceptor pipelines may have
   error, it is assumed that the neighbor is not yet running and            any number of interceptors, provided they do not add too
   the interface module 203 , 205 starts to listen on its config-      25   much latency.
   ured IP port so that the neighbor can connect to it when it is              In one embodiment, an example of an interceptor is one
   started up . The interface module 203 , 205 waits for an                 that filters packets from a specific overlay network router.
   incoming connection request for a brief period of time . After           When this interceptor is implemented as a manageable
   this time period expires, the interface module 203 , 205                 component that can be configured dynamically at runtime, it
   returns to actively connecting to its neighbor. To avoid a          30   can be used to implement basic firewall functionality on the
   situation where both neighbors continue to switch between                overlay network . If it receives a packet that matches its
   the listen and active states at the same time , the duration of          rejection pattern, it discards the packet by not passing it to
   the listening state is influenced by a random factor. An                 the next interceptor in the pipeline. Another type of inter
   advantage of allowing each neighbor to switch between the                ceptor that may be used is a traffic monitor that counts the
   active connection and listening states when establishing a 35            size of each packet that passes by and uses this to log traffic
   connection is that it allows the connection of routers even if           activity and compute bandwidth statistics. This plug - in
   one of the routers is on a masqueraded IP network . A router             mechanism allows an overlay network router to be extended
   on a masqueraded IP network is unable to accept incoming                 with additional functionality without modifications to the
   connections such as TCP connections .                                    underlying software .
      In one embodiment, interface modules 203 , 205 can be 40                 In one embodiment, the interceptor pipelines 251 , 257 act
   configured at router deployment through configuration files .            as a packet buffer between the router kernel 201 and the
   This will make the router daemon automatically create the                network . The interface modules 203 , 205 temporarily buffer
   specified interfaces at startup . If the configured neighbor             inbound and outbound packets. This ensures that the kernel
   routers are online, all long - lived connections will automati-          201 is not blocked when sending a packet to an interface. In
   cally be established . It is also possible to add new neighbor 45        one embodiment, the interface modules have a separate
   connections and interface module instances dynamically at                thread or set of threads that continuously dequeue and
   runtime. This way the overlay network topology can be                    serialize packets from the buffer and write them to the
   changed flexibly and new routers can be added to the communication connection or enqueue into buffer received
   network . If an interface module 203 , 205 manages to estab- packets.
   lish a connection with a neighbor router, the interface 50 In one embodiment, the interceptor pipeline provides a
   modules of the routers exchange overlay network node temporary packet buffer and offers inter - thread communica
   address information to inform each other of their presence . tion between the kernel thread and the interface thread .
   When the interface module 203 , 205 receives the node Interceptors may be divided into two categories : interceptors
   address of its neighbor, it passes this information, together            that block and interceptors that return immediately. The first
   with an announcement that a connection has been made to 55 category is referred to as blocking or synchronous intercep
   the kernel 201. This information allows the kernel routing               tors . In one embodiment, to avoid situations where a router
   algorithms to build dynamic routing tables.                      kernel 201 is blocked for an arbitrarily long time , an
      In one embodiment, a role of the interface modules 203 , interceptor pipeline may contain one non -blocking intercep
   205 is to establish the connection with a configured neighbor tor. A non -blocking interceptor guarantees immediate return
   router and to send data packets from the router kernel 201 to 60 of control to a caller by storing the packet in an internal
   the neighbor connection and vice versa . The interface mod- buffer. The packets in the buffer may be discarded if the
   ule 203 , 205 incorporates a framework that allows custom buffer exceeds a certain threshold size .
   software plug - ins to influence the stream of packets that                In one embodiment, a maximum size limit is placed on the
   flows between the network and the kernel 201. This mecha-                packet buffers to prevent them from exhausting the router's
   nism is referred to as the interceptor pipeline 251 , 257. In 65 memory. Storing packets before processing them means that
   one embodiment, each software plug - in component that their delivery will be delayed. The larger the buffer gets , the
   needs to control the packet flow is a class that implements longer the packets are delayed. Because of this, the inter
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   ceptor drops packets when the buffer reaches its maximum            calls , native inter -process communication or similar sys
   size . In one embodiment, the system uses reliable TCP or           tems . A local IO multiplexor 229 utilizes an RPC stub 223
   similar connections for transmitting packets between routers        or similar program to communicate with the router via an
   in which packets are only dropped inside the buffer inter-          RPC skeleton 219 and client adaptor 209. A client 10
   ceptors of the interface modules.                                5 multiplexor 207 at the router manages the relay of these
      In one embodiment, the interceptor plays a role in making        socket requests to the kernel 201 .
   packet loss deterministic. Packets are not explicitly dropped          In one embodiment, the router daemon 109 uses a packet
   in any other part of the layered multicast system network ,         buffer to temporarily store packets for each connected client
   except the buffer interceptor in the interface pipelines .          application until they are picked up . An interceptor pipeline
   However, that may not guarantee that a packet that success-      10 in the client adaptor 209 or similar process may be utilized
   fully makes it through all buffer interceptors of the net-          for this buffering function .
   work's routers is delivered at its destination . Aside from            To overcome the problem of growing routing tables,
   controllable packet loss , the network may also occasionally        computation time and excessive advertisement overhead ,
   lose packets in a non - deterministic way, for example when         large networks can be partitioned into smaller sub sections ,
   a router crashes with pending packets in its buffers, or when    15 connected by gateways. While the gateway routers maintain
   a connection between adjacent routers is unexpectedly               routing information necessary to route packets to nodes in
   closed during transmission of a packet.                            other network sections , nodes inside a section or domain
      In one example , an inbound interceptor pipeline 251 may        only maintain information for those nodes inside the same
   be structured such that traffic throughput monitor intercep-       domain . By substituting logical ranges of hosts in the routing
   tors 253 are positioned after a buffer interceptor 255 and a    20 table by one single condensed entry, the size of the routing
   firewall interceptor 265 may be positioned before for the          table is reduced . This is called address summarization . This
   buffer interceptor 255. In an example outbound interceptor         mechanism introduces a form of hierarchy that allows the
   pipeline 257 , a throughput limiting interceptor 259 may be        network as a whole to grow far beyond the practical limits
   positioned before a buffer interceptor 261 and a traffic           of standard distance - vector or link - state algorithms. The
   monitor interceptor 267 may be positioned after the buffer      25 farther a destination host is away, the more efficient it can be
   interceptor 261 .                                                  condensed together with other remote hosts. The more
      In one embodiment, the overlay network is accessible to         summarization is applied, though , the less efficient the paths
   applications through the use of the client - side programming      become on average . The factor by which the actual data
   library 221. This library connects to a router daemon 109 at       paths on summarized networks differ from the optimal paths,
   application startup and communicates with it using remote       30 is known as the stretch - factor: the maximum ratio between
   procedure protocol or similar communication protocols. Thethe length of a route computed by the routing algorithm and
   communication between the library 221 and the router that of a shortest path connecting the same pair of nodes .
   daemon 109 is driven by the application 227. The applica-    In one embodiment, the overlay multicast system takes a
   tion 227 invokes functions in the router 109 through the relatively straightforward approach to address summariza
   library 221. In one embodiment, when the kernel 201 35 tion . An administrator decides at deploy time which nodes
   receives packets addressed to a tport that is bound by the form clusters and which clusters form aggregations of
   application 227 , it stores them until the client actively picks clusters. This is done by encoding hierarchy in the layered
   them up . The application 227 through the library 221 multicast system node addresses using a dotted or similar
   continuously polls the router for packets . To minimize the notation . Node addresses may be ASCII strings. In one
   overhead of the polling mechanism , the router poll function 40 embodiment, the strings are limited to at most 127 charac
   does not return until there is at least one packet delivered by ters . In one embodiment, only [ a - z ] and [ 0-9 ] are available .
   the kernel 201. If more than one packet is waiting, the poll In another embodiment any characters , numbers of similar
   function returns all waiting packets at the time it is invoked . symbols may be utilized . Addressing may be case - sensitive
   In another embodiment, the router may send an indication or case - insensitive.
   such as an invoking a marshaled stub from the client, event 45 FIG . 3A is diagram of one example embodiment of a
   notification or similar indicator to the application 227 layered multicast system network divided into logical clus
   through the library 221 to indicate the reception of a data ters . The example illustrates a network of eight nodes ,
   packet for the application 227 .                                 divided into three clusters. Assigning nodes to clusters may
      In one embodiment, a user application 227 uses a client be based on geographical properties, administrative bound
   library 221 through instances of the overlay multicast sys- 50 aries, wide area links and similar considerations. For
   tem communication sockets 225. If a user wants to be able example, nodes inside a corporate network are all assigned
   to receive packets, they reserve a network address . In one the same logical domain, whereas a network that connects
   embodiment, a network address in the overlay multicast nodes from different corporations, would usually assign a
   system is represented as a combination of the address of the separate domain to each corporate network . Another crite
   router and a unique port identifier, reserved for the socket of 55 rion for assigning nodes is that nodes that often disconnect
   the router. For sake of convenience, a port in the layered and reconnect again later, possibly because the overlay
   multicast system will be referred to as a tport and a socket multicast system routers run on personal computers, are
   as a tsocket . When a user application creates a tsocket for placed in a subdomain , to avoid the routing updates trig
   receiving normal unicast packets , the tsocket automatically gered by their changing state to propagate far into the
   binds a local tport at the router daemon through a remote call 60 network .
   to the client 10 multiplexor 207 at the router. In one               Given the logical domains that cluster groups of nearby
   embodiment tports are bound exclusively and other clients nodes , each node can treat domains other than its own as a
   may not use it concurrently.                                       single entity and use a wildcard address that matches every
      In one example embodiment, communication sockets 225 host inside that domain . This reduces the size of the routing
   communicate with a local input output (TO ) multiplexor 229 65 table , as well as the amount of routing information that
   that coordinates the handling of communication between the needs to be exchanged between the nodes when the topology
   sockets and the router kernel through the formation of RPC changes inside a domain . For example, when a new host is
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   added to domain S 1 , there is no need to propagate that               addresses of the links peers . The routing update A.S sends to
   information to the other domains , as they already have a               A.S. Y contains DVA.S.A.S.r: { (A.S , * , 0), (A.R , A.S , 1 ), (B. * ,
   wildcard entry that will match the new address.                        A.S , 1 ) } and leads to A.S.Y's routing table RT4.s.v: {(A.S.
     FIG . 3B is a diagram of a routing table for the network of Y, * , 0 ) , (A.S.X , A.S.X , A.S.Y, 1 ) , ( A.S.Z , A.S.Z , A.S.
                                                                               9

   FIG . 3A . The example routing table shows the effect of 5 Y , 1 ) , ( A.S , A.S , A.S.Y, 1 ) , (A.R , A.S , A.S , 2 ) , (B. * , A.S ,
   address summarization in this network on the routing table A.S , 2 ) } . When A.S.Y has finished updating its routing table ,
   of node S2.C. The cost value that is listed in the third column it advertises DVA.S.A.S.Y: { (A.S.Y, *, 0 ), (A.S.X, A.S.Y, 1 ) ,
   represents the cost of the shortest path to the nearest node           ( A.S.Z , A.S.Y , 1 ) , (B.*, * , * ) , (A.S , * , * ) , ( A.R , * , * ) } back
   inside that domain . In the fourth routing entry, the number           to neighbor A. S where the asterisk indicates unreachable in
   in the cost column is the cost to reach S1.R from S2.C. If it 10 the last three records to avoid long - lived loops . These loops
   is assumed that both interdomain links S2.0 - S1.R and S2.A- were detected through the normal back trace mechanism of
   S1.R have the same weight or cost , S2.0 will route all traffic ExBF .
   for domain S1 through neighbor S1.R.                                  In one embodiment, summarization means that only a
      In one embodiment, when nodes exchange distance vec- single path for a range of remote nodes is maintained . The
   tors , either because of a link change, or as a normal, periodic 15 consequence of this is that packets will not always be routed
   exchange, the receiving node first summarizes the destina- according to the real shortest path between source and
   tion address of each distance vector relative to its own destination . To illustrate this effect in the multicast network ,
   address. Summarization is done by matching the destination consider the example network of FIG . 4. Node S1.R receives
   address with its own address field -by - field and when a field the distance - vectors of both S2.A and S2.C. And after
   does not match, the rest of the address is substituted by a 20 summarization learns that both neighbors offer a route for
   wildcard . For example, when S2.0 receives a distance - vector wildcard S2 . * . If it is assumed that both interdomain links
   from S1.R that contains a path to destination S1.P , it is ( S1.R - S2.A and S1.R - S2.C ) have equals costs , then S1.R
   immediately summarized to S1 . * upon arrival at node S2.C. will choose S2.A to be the preferred hop for S2 . * because of
   This is because the first field differs from the first field of the    the fact that its address logically comes first. When S1.R
   local address and as such the remaining fields are replaced 25 needs to forward a data packet to S2.B , it uses the S2 . *
   by a wildcard . This wildcard value is then fed to the distance wildcard entry and forwards the packet to neighbor S2.A.
   vector algorithm that checks whether the new cost or path- Unfortunately this is not the shortest path to S2.B , as S2 . A
   length is shorter than the cost of the entry that was already first has to route the packet through S2.C. Instead, S1.R
   in the routing table . In the present example there already is should have sent the packet directly through neighbor S2.C.
   an S1 . * wildcard entry in the routing table that was derived 30 This ratio between the length of the actual path and the
   from neighbor destination S1.R. Since the path to S1.P runs length of the optimal path between the endpoints are called
   through S1.R , the path to S1.R will always be shorter than the stretch factor.
   the path to S1.P, so the entry in the routing table will not be       In one embodiment, path stretching on the overlay mul
   changed and no further routing updates will be propagated ticast system occurs when packets are forwarded between
   to S2.C's neighbors.                                             35 nodes that are in different logical domains . An entire subnet
      In general, when a local address is 1.2.3.4 and an incom- is treated as a single node with several outgoing links .
   ing distance - vector advertises destination 1.2.2.2 , it will be Because a virtual node often contains a large number of
   summarized to 1.2.2 . * . Destination 2.1.6 becomes 2.** ., des        nodes , connected by its own internal network structure, it is
   tination 1.2.3.4.5.6 becomes 1.2.3.4.5 . * , destination 1.2.3.5       sometimes better to choose a different interdomain link
   stays 1.2.3.5 and destination 1.2.3.4.5 also stays 1.2.3.4.5 . 40 when sending packets to the domain .
   Note that 1.2.3 and 1.2.3 . * are two different addresses. The      Since the overlay network runs its own adaptive routing
   first only matches the exact address 1.2.3 while the second algorithms, the content streams through the network are
   is a wildcard that matches everything that starts with 1.2.3 constantly rerouted to avoid the network's hot spots and
   and has at least 4 address fields. This includes 1.2.3.4 and congestion . This can be particularly useful on wide area
   1.2.3.4.5.6 , but not 1.2.3 . If this mechanism of address 45 networks that are used for very different types of applica
   summarization is used in an ExBF implementation that tions and hot spots are dynamic ( i.e. , moving around ).
   carries tuples containing destination , cost and head -of- path Another advantage of having custom routing algorithms is
   attributes in its vectors , then the destination address is the freedom of substituting them with others in the future.
   summarized , as well as the head -of -path address.                          In one embodiment, the software routers implement load
      FIG . 4 is a diagram of an example network with a 50 balancing inside the network . Traditionally routing algo
   hierarchical structure. When the example network first starts rithms seek for “ best paths ” through the network and send
   to converge using the ExBF algorithm , node B.X advertises data streams over these . However, it is sometimes much
   the following routing information to neighbor A.S : DVB , X , more desirable not to just send streams over this optimal
   4,5 : { ( B.X , * , 0) , ( B.Y, B.X , 1 ) , ( B.Z , B.X , 1 ) }. When A.S path , but to also select several sub - optimal paths and divide
   receives the vectors , it summarizes its entries. What remains 55 the stream over all of them . This also avoids the optimal path
   is the single vector DVBX,A , S: { (B. * , * , 0 ) } . The routing from getting congested when the stream requires more
   table of node A.S now contains RTAs: { (A.S , * , * , 0 ) , ( A.R , bandwidth than this single path can provide.
   A.R , A.S , 1 ) , (B. * , B. * , A.S , 1 ) } . All addresses are summa-      FIG . 5A is a diagram demonstrating summarization of an
   rized before processing. This includes neighbor addresses . example network with an S2 domain . When node S1.P needs
   The consequence of this is that when a node has more than 60 to forward a packet for destination S2.F, it will send the
   one connection with a foreign domain, both neighbor packet directly down its interdomain link to the S2 domain .
   addresses will be summarized into the same wildcard . This             In this example both interdomain links are assumed to have
   leads to ambiguities and nondeterministic routing when this            equal costs . FIG . 5B is a diagram demonstrating the stretch
   wildcard is listed as the preferred hop in a routing entry, as factor for the example network of FIG . 5A and shows the
   it cannot identify a single outgoing link . This problem is 65 inner network of the S2 domain . FIG . 5B clearly shows that
   solved by assigning a local identifier to each link and using the stretch - factor is quite high for packets from S1.P to S2.F,
   these numbers in the preferred hop column, rather than the             as the optimal path runs through S1.R instead . Although the
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                                 15                                                                                               16
   overlay multicast system address summarization technique                  Because every data packet always contains a source and a
   cannot guarantee a maximum upper bound on the stretch-                    destination address, the amount of overhead per packet is
   factor, it can manipulate the stretch - factor by changing the            excessive at times .
   summarization opacity.                                                      In one embodiment, the string based node address scheme
      By default, an address is summarized after the first field 5 is implemented by letting the first bytes of each address
   that differs from the local address. However, if that is header specify the length of the address in bytes , followed
   changed to the second field , the overlay multicast system can by the address itself as a normal 8 bit ASCII string with a
   look inside other domains for one level. A node with an                   maximum of, for example, 256 bytes. In one alternative,
   address 1.2.3.4 will then summarize 2.3.4.5 into 2.3 . * , rather null - terminated strings are used .
   than 2. * and 1.3.4.5 into 1.3.4 . * , rather than 1.3 . * . Doing this 10 In another embodiment, a sufficiently large address space
   at least at the border nodes in the overlay multicast network        is used and divided into logical subsets , similar to IPv4 and
   that have the interdomain links reduces the stretch - factor         IPv6 addresses. In one embodiment, a 64 bit address space
   under certain circumstances. As the overlay multicast net-           is used and divided into 8 bit fields ( identical IPv6) used
   work was designed to be administrated by independent                 to identify logical subnets . In this embodiment, addresses
   parties, administrators are free to experiment with different 15 might look like 120-23-61-201-43-146-128-132 . To make
   summarization opacity levels without jeopardizing the other distinct addresses, IPv4 uses the dot “ .” for separation , IPv6
   subnets or domains .                                                  uses the colon “ :” and the present system uses a hyphen “ - ” .
      One advantage of the summarization of addresses in When each address field represents exactly one logical
   routing tables is that the number of links that are present subnet level , this scheme provides a simple , but at the same
   between nodes from different logical domains is irrelevant 20 time somewhat limited ,way of addressing. It meansthat the
   with respect to the number of routing entries in the routing complete network can address as many individual hosts as
   table of a distance -vector protocol or similar protocols . IPv6 , while grouping them in at most 8 levels of sub
   Since these tables only contain destinations with a single domains , where each sub domain can contain a maximum of
   forwarding strategy , the number of interdomain links does 256 hosts or sub domains . The sub domains can be utilized
   affect the size of the routing tables. Ify is identified to be the 25 to indicate a network hierarchy in the topology, including a
   number of entries in a node’s routing table , x to be the total geographical or similarly based hierarchy.
   number of nodes in the entire network , n to be the number             In one embodiment, to reduce the amount of bandwidth
   of entities (nodes or nested domains) inside a domain and m          wasted on this overhead , a mechanism is used for substitut
   to be the depth of the hierarchy. From this it follows that the ing the address strings for small 16 bit values or similar
   total number of nodes in the network can be calculated with : 30 small sized value when transmitting a packet to a neighbor.
         Vx = n " where neINAn > 1 and melNAm > 0                  Also , a translation table is kept at both sides of the connec
      The relation between domain depth , number of nodes and tion      that is used to put the original address string back in the
                                                                   packet before passing it to the router's packet switching
   domain density can be expressed by the following formula kernel         . This optimization works on a per - link basis and may
   for a network with a uniform topology :                      35 be totally independent from the communication with other
                                                                   neighbors. When it is used on more than one interface, each
               In(x)                                               interface maintains its own translation table .
          y = In (n ) * (n - 1 ) +1                                   If a packet is transmitted to a neighbor, all address strings
                                                                40
                                                                   are stripped from the packet header. For each address string
      Given this formula of the address summarization's effec
                                                                   a  16  bit or similar value is generated and stored in the
                                                                   translation table. These 16 bits or similar values replace the
   tiveness, it can be shown that routing entries in any network original addresses and before the packet is transmitted , its
   node remains under 100 even when the network as a whole         protocol version field in the first header of its wire - level
   grows to well over 10 million nodes . It can also be shown representation is changed to a higher version . This version
   that the domain size n has no spectacular effect on the 45 number is reserved for optimized packets that would be
   scalability. While a small value n yields a relatively deeply unreadable for routers without support for address substitu
   nested network hierarchy, which implies more routing tion . To ensure proper translation by the peer, the interface
   entries, it also means that each hierarchy level only contains first sends a special packet that contains the new address
   a small number of entities. A large value n in a network of substitutions. Such a packet is tagged with the higher
   the same size yields a relatively flat hierarchy with few 50 protocol version number and contains one or more tuples of
   levels , each level contains a large number of entities . As a       address strings and their substitute values . In one embodi
   routing table can only contain a natural number of entries , its     ment, such a packet takes the form :
   number remains constant as nodes are added to domains that
   are already captured by the existing wildcard entries.
      An advantage of using a string based node addresses 55               0                                          1                              2                              3
   scheme is its large address space and flexible naming . New
   subdomains maybe added at any time as there is no need for
                                                                           012301234567890123456789012345678901                                          123
                                                                           + - + - + - + - + - + - + - + - + - + - + - + - + - + - + - + - + - + - + - + - + - + - + - + - + - + - + - + - ++
   predefined or fixed hierarchical levels . All nodes inside a flat        version             type             unused              1                   length                 |
                                                                           +- +- +- +- + - + - +- +- +- +- + - + - + - +- +- +- + - + - + - +- +- +- + - + - + - +- +- +- + - + - +
   domain can be reconfigured into nested subdomains without               address 1 (max 128 bytes )                               | 16 bit subtituted value
   the need to reconfigure routers or compute netmasks. Also , 60          +- +- +- +- + - + - +- +- +- +- + - + - + - +- +- +- + - + - + - +- +- +- + - + - + - +- +- +- + - + - +
   as address fields are not bound to a limited number of                  address 2 (max 128 bytes )                                  | 16 bit subtituted value
                                                                           +- +- +- +- + - + - +- +- +- +- + - + - + - +- +- +- + - + - + - +- +- +- + - + - + - +- +- +- + - + - +
   characters, they contain location or company names to make              address 3 (max 128 bytes )                                  | 16 bit subtituted value
   administration of the network easier and more transparent.              + - + - + - + - + - + - + - + - + - + - + - + - + - + - + - + - + - + - + - +- +- + - + - + - +- +- + - + - +- +
   An example might be the address nl.amsterdam .
   level3.marketxs.node4 , or simply nl.ams. 13.mxs.n3 to keep 65
   the address relatively short. The drawback of these kinds of Type Ox1 is used for issuing new substitutions and type 0x2
   unrestricted addresses is the amount of bytes they require.          is used to invalidate an earlier or unknown substitution . The
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                                   17                                                                     18
   system attempts to ensure that this ( or similar) packet is            towards S and hence will immediately mark those links as
   received by the peer prior to the data packet itself, which is         child links in the shortest path tree rooted at S.
   something that cannot be guaranteed by every transport                   Neighbors that do advertise reachable routes to destina
   layer. TCP or similar guaranteed communication method tion S are not flagged as child links and therefore not used
   may be used for communication between neighbor nodes in 5 when forwarding multipoint packets from S. In another
   the overlay multicast network .                                        embodiment, this implicit information is available through
      In one embodiment, configuring an interface for address             any distance - vector protocol that uses poisoned reverse or
   substitution can be done manually, or automatically. In the            similar techniques. Both methods are used to quickly deliver
   latter case the interface uses a special handshake packet that     a copy of any multipoint packet to all nodes in the network .
   is part of the higher protocol version. In one embodiment, 10 ofA disadvantage
                                                                          every packetofisboth    mechanisms
                                                                                              delivered to everyhowever
                                                                                                                   node , isregardless
                                                                                                                              that a copyof
   the handshake packet takes the form :                              whether or not that node is actually interested in multipoint
                                                                      packets from that source .
          0              1         2           3                         In one embodiment, the overlay multicast system is
          01234567890123456789012345678901                         15 equipped with a sparse forwarding mechanism . The overlay
          + - + --       -+-+-+      +-+-+-+- +-+
                                                                      multicast system network is used for a single source multi
                                                                      cast for high volume market data , video streams or similar
          version type unused |         length                        data to be sent to large numbers receivers. In these types of
        +-+                    +         +-+-+-+
                                                                      uses it is not necessary that receivers themselves or other
                                                                   20 nodes be capable of publishing data packets to the multicast
   The version field has the higher protocol version . The type group only
                                                                             . Instead , for security reasons it is better to know that
                                                                            the  real source can publish to the group . Given these
   for the handshake packet is OxO and the length is 4. A peer requirements          , together with the fact that multi - source pro
   transmits such a (or similar) packet when the connection is tocols are more             complex than their single -source alterna
   first established  . When the packet is echoed back by the peer
                                                                 , 25 tives,  in  one   embodiment   , the overlay multicast system
   the interface knows that the neighbor also supports substi preferably uses a custom single - source protocol for multi
   tution and goes into substitution mode . After a connection cast distribution on the network . In another embodiment, the
   with a neighbor has been lost and is re -established, the overlay multicast system supports multiple sources. For sake
   handshake is performed again as the peer could have been of convenience an embodiment of a single source multicast
   replaced by software that does not support substitution . 30 network is discussed . One of ordinary skill in the art would
     In one embodiment, entries in the translation table all              understand that the principles of operation can also be
   have a time - out or similar tracking mechanism to ensure              applied to a multi- source application as well .
   timelines and accuracy of entries. After this period the entry           FIG . 6 is a diagram of an example embodiment of a
   is removed from the table and any packet still using the               multicast distribution or “ sink ” tree . In the example embodi
   substituted value will not be processed and cause the receiv-     35 ment, the multicast system starts with a source q that is
   ing node to respond with a special packet containing the             active , but in this example, a sparse -mode protocol , with no
   substituted values that weren't recognized, allowing the peer          receiver yet subscribed , no distribution tree exists . When the
   to synchronize translation tables by sending a packet con-             first receiver application po subscribes, its router initiates the
   taining the substitution tuples. Since the invalidation of             reverse computation of one branch of the sink tree rooted at
   timed- out entries is automatic , both peers use the same         40   source q . It does so by first marking that po has a local
   timeout or similar values in tracking mechanisms. In one               subscriber for q : G by setting the bit in LSpo [ q, S ] (LSp [ ] is
   embodiment, when the translation table is full, entries are            a local array at node p that keeps track of all subscriptions
   removed according to a last recently used scheme. The                  of the local user applications connected to router p ) to true
   address substitution is implemented in a substitution inter-           and then sending a join (e.g. , a < join (q : G) >) packet to the
   ceptor that is the lowest interceptor or a part of the lowest     45   preferred hop towards source q . This neighbor p? receives
   interceptor or other interceptor reconstructing packets                the join (q : G) > packet and marks the link with po as a child
   immediately on arrival in an interface module of a router.             link for multicast group q : G . It then forwards the packet to
   Substitution introduces additional processing overhead and             the next hop P2 in the shortest path towards q . Eventually
   enabling it is optional for each node .                                node Pn sends the < join (q : G)> packet to q . On receipt, q
      In one embodiment, the overlay multicast system may be         50   marks the link on which the packet was received as a child
   used solely for routing. The overlay multicast system offers           link for its local multicast group G and starts forwarding all
   multicast support over existing IP networks. The overlay               packets addressed to G over the link to node Pn . The
   multicast system goes beyond offering plain multicast func-            multipoint packets addressed to G are inserted into the
   tionality and additionally focuses on supporting live multi-           overlay multicast network at node q by the user application
   cast streams with limited jitter and delay through the com- 55         that previously bound the local multicast group q : G in
   bination of overlay multicast, multicast congestion control            publish mode . Nodes Pne Pn - 1 , ... , P , all forward the packets
   and layered multicast.                                                 to their neighbors from which a < join ( q : G) > packet was
      In the overlay multicast system the ExBF protocol or                received earlier. Node po has no child links for q : G , but does
   similar routing algorithm implicitly contains information on           have LSpo [ q : G] set , so it delivers the packets to the local
   which links in the network are child links. For example, this 60       application . When another node p , becomes interested in
   is a by - product of the long - lived loop avoidance mechanism         q : G while LSp ; [ q : G] is not already set , it sends a < join
   in ExBF . In ExBF, a node will inform its neighbors about the          (q : G) > packet to its preferred hop towards q . Let Pitn be in
   fastest route it offers to a destination S , except the neighbor       the path from p ; to q that receives the < join (q : G) > packet
   that is in the path towards S. Instead, an infinite distance is        and suppose that Pirnis also in the path between po and q . In
   advertised to this neighbor. This information is used by a 65          this case , Pi +n is already in the established part of the sink
   router to conclude that each neighbor advertising that node            tree of q , so it does not need to forward the < join (q : G ) >
   S is unreachable , is actually using it as their parent node           packet further to q . Instead , it only marks the link on which
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                                    19                                                                                            20
   it received the packet as a child link for q : G . In general, a            from a link failure is 3N when ExBF or similar algorithm is
   node u only forwards a join ( S : G) > packet towards S if it used as the underlying unicast routing algorithm . A best case
   is not already subscribed to S : G (hence, LS , [ S : G] is not set time complexity would be 2N .
   and the collection of child links for S : G is empty ).               The example discusses a scenario where the system
      The example sparse -mode distribution tree generated 5 recovers from a failure of a link that is part of the multicast
   when processes subscribe to a S : Q group originally equals a distribution tree . More often however, links will not fail
   part or all of the optimal sink tree rooted at S. However, completely, but rather fluctuate in quality , causing the under
   when the underlying unicast routing algorithm detects lying routing algorithm to reassign preferred neighbors. In
   changes in the network performance and updates some of this example case it is not a requirement that the distribution
   the routing table entries, the optimal sink tree changes 10 tree
   accordingly and may no longer be matched by the multicast tionedis . changed
                                                                          However
                                                                                   to reflect these changes, as it is not parti
                                                                                    , since the tree becomes suboptimal , it is
   distribution tree , rendering the tree as well as the multicast changed .
   performance suboptimal. An extreme example of this is             In one embodiment, the decision whether or not to recom
   when a link that is part of the multicast distribution fails                pute a distribution tree after a routing table update is made
   entirely.                                                             15
      FIG . 7 is a diagram of an example overlay multicast                     according to the quality of the used path . When a node p in
   network with a failed link . In the example a node u currently              the tree detects that the neighbor in the optimal path towards
   in the distribution tree for q : G only has a single route to q             the multicast source has a cost that is only marginally lower
   via w. The link between u and w fails . The node u concludes                than the neighbor that is currently p's parent in the actual
   that it can no longer be part of the distribution tree ( as u and 20        distribution tree, the overhead of recomputation and the risk
   q are no longer connected ) and invalidates all child link                  of packet loss outweighs the increased performance of the
   subscription information . In case LS [ q : G ] is set (i.e. , the          new tree . Also , since the quality of each link is continuously
   subscription table indicates that u is subscribed to group G                re -evaluated , the updated sink tree may only be temporal.
   from node q) , u will rejoin the distribution tree as soon as a             Two straightforward solutions to this can be used . Either the
   new path to q is found . In another embodiment, the algo- 25                algorithm sets a threshold on recomputation so that sub
   rithm sends a notification to the locally subscribed applica-               scriptions are only moved to the neighbor with the currently
   tion to indicate that u is no longer connected to q .                       optimal path towards the source if the decrease in cost is at
      In the example, it is assumed that all links have weight 1 ,             least a ratio x , where x > 1 . A larger value of x then postpone
   while the link between p and w has weight 100. The result                   tree adjustments until a substantial improvement can be
   is that the link connecting p and w is not in the optimal sink 30           gained, while a smaller x makes the tree actively follow the
   tree rooted at q . Since only t and v have a local subscriber               changing characteristics of the underlying network .
   ( LS , [ 9 : G] and LS , [ q : G] are set) , the sparse distribution tree       Another solution is to postpone recomputation of the tree
   in this example equals the dotted arrows of FIG . 7 .                       for a period inversely proportional to the cost decrease ration
      In the example, nodes w, u , r and s all have only a single              x . The latter has the advantage that the optimal distribution
   route to Node p has a path through both s and w, while s 35                 tree is always guaranteed to be reached in finite time since
   is the preferred hop towards q . When the link between u and                the last routing table change.
   w fails , u becomes disconnected from q and invalidates the                     In one embodiment, to run the tree building protocol , two
   subscription information for link u - r . Node u informs neigh-             new messages are introduced : the join message and the leave
   bor r of this fact as part of an immediate distance -vector                 message . Both messages use a GroupData control message
   exchange. This routing update implicitly tells node r that its 40           of the following format :
   join for q : G through u is no longer valid and that it should
   look for an alternative neighbor to rejoin .
      In the example , an explicit leave packet to u is unneces                     012334567890123456789012345678901
   sary . Sincer is also left with no alternative path to q and has                 +- +- +- + - +- +- +- + - +- + - +- +- + - + - +- +- + - + - + - +- +- +- + - + - +
                                                                                     version type                  | unused                                 length
   no locally subscribed applications , it invalidates its q : G 45                  + - + - + - + - + - + - +-   - + - + - + - + - + - + - + - + - ++ - + - + - + - + - + - + - + - +
   subscription and is no longer part of the distribution tree .                      controltype             num groups                           unused              |
   Neighbors t and s are implicitly informed about this through                     +- +- + - + - +- +- + - +- + - +- + - +- + - + - + - +- +- +- + - + - + - +- +- +- +
   the ExBf routing update or similar routing update sent by r .                                             source address (max 128 bytes )
   Eventually w, u , r and s all leave the distribution tree, while                 +- +- + - + - +- +- +- +- + - + - + - +- +- +- + - + - + - +- +- +- + - + - + - +- +- +- +
                                                                                                             source address (max 128 bytes )
   nodes t and v schedule a rejoin when a new path to q is 50                       +- +- +- + - +- +- +- +- + - + - + - +- +- +- + - + - + - +- +- +- + - + - + - +- +- +- +
   found . Again , they inform their local subscriber applications
   about this. When p receives the routing update from s , it
   loses its preferred hop for q and switches to neighbor w . The    This message is used to send a list of subscriptions to a
   new cost to q is now 100 plus distance ( w , q) and neighbor      neighbor node or to cancel an aggregated list of subscrip
   s is informed . Upon receipt, s discovers the new path to q 55    tions with a neighbor. The action field ( 9th byte) is used to
   and informs its neighbors r and v. Node v then sends the          distinguish between join and leave . The 10th and 11th byte
   < join (q : G) > packet to s . Nodes s , p and w then construct the
                                                                     indicate the number of ( S , G) groups in the message . The
   first part of the new , optimal distribution tree rooted at q .   action field is either “ join ” (0 ) or " leave” ( 1 ) . In an alter
   When the new path reaches r and t , t sends a join packet to      native embodiment, this is extended to “ stale ” , “ dead ” , etc.,
   r and r to s , reconnecting all receivers to the data stream . 60 to indicate the state of the publishing application .
      In one embodiment, recovering from link failure or simi-          Many multicast applications require some level of reliable
   lar communication errors is divided in three steps. In the first communication. Examples of this are uploading files to
   step the underlying ExBF or similar routing protocol starts several receivers simultaneously or replicating web server
   a wave that propagates a link failure through the network . caches. Without guaranteed delivery, a multicast transport
   Depending on the actual topology, this takes up to N - 1 65 service has limited applicability. In one embodiment, the
   packets, where N represents the number of nodes in the overlay multicast network utilizes standard delivery control
   network . The worst case time complexity for recovering based on moderating the sending of data based on the lowest
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   bandwidth available on the route to a destination. However, multimedia content over layers to enhance the user experi
   this delivery system is unsuitable for certain applications.     ence over wide area networks.
      One example is financial data distribution , it needs a         In one embodiment, incoming messages are sorted by
   transport service that can multicast live data without packet unicast or multicast sender address. As described above, a
   loss or corruption and without substantial end -to - end delay 5 sender address is the combination of source router address
   when parts of the network are temporarily or permanently and application session . An example of a source address is
   congested . While live market data cannot tolerate random nl.mxs.office.erik :video.an2 which could be used by a user
   packet loss , it can be thinned . Under certain circumstances application broadcasting a video channel. In this case , only
   it is acceptable to omit certain stock quote updates . An the source address is relevant, not the (uni- or multicast)
   example is a desktop application that displays real - time 10 destination address. Each incoming message is added to the
   updates for hundreds or thousands of financial instruments. queue that holds messages sent by that particular sender. If
   If all quote updates were delivered to this application, this this is the first message from a sender, a new queue is
   would require a substantial amount of bandwidth and would automatically created to store it.
   cause the value of the more volatile instruments to change 15 FIG . 8A is a flowchart of one embodiment of a process for
   faster than a human can read . The data may be thinned managing congestion in the overlay multicast system . The
   through a process that involves inspection of the individual congestion can be managed at each individual router. In one
   stock quotes and encoding them in individual data packets , embodiment, the congestion is managed at the interface
   tagging each with a priority value . For this application, as module level in each router. Each interface module has an
   long as all packets labeled with the highest priority number 20 inbound pipeline and outbound pipeline discussed above for
   are received, the partial stream can be considered intact.        processing inbound and outbound data . Each pipeline buf
   Additionally, when all updates of the second highest priority     fers data that is awaiting further processing. However, if
   are also received , the quality of the partial stream is          either pipeline is unable to keep up with the pace of
   increased usually in the form of less latency.                   incoming data that needs to be processed some data must
      In one embodiment of the overlay multicast system , 25 dropped .
   priority numbers are associated with data packets. The              In one embodiment, data is received as a set of data
   priority numbers represent a logical layer inside a data streams at each router ( block 851 ) . The data is then buffered
   stream . Data provided by a multicast application may be in in the inbound pipeline buffer (block 853 ) . The same process
   the form of a stream of data . This data is subdivided into      applies to outbound data that is received from the kernel by
   categories or priorities based on the nature of the data.When 30 the
   packets in a data stream are labeled with priorities in the buffer   outbound pipeline. This data is stored in the outbound
                                                                          . After the data has been stored a check is made of the
   range 0 to 3 , the stream is said to have 4 layers. Also , the inbound or outbound buffer to determine if it is full (block
   convention is to treat 0 as the highest priority and 3 as the 855 ) . In one embodiment, data is stored in the data structures
   belowest . Any including
        utilized   other system
                             alphaof identifying priority levels
                                     numeric indicators          may 35 in the buffers that organize the data packets into a set of
                                                          or similar
   identifiers. If a stream only contains a single layer, all        queues. Each source address, data stream or layer in a data
   packets are labeled with priority 0 .                           stream has a separate queue. A queue is sorted with highest
     To software router daemons , a priority value of a packet     priority and oldest data packets at the front of the queue . If
   is relative to the stream and becomes relevant when a the buffer is full then a decision is made to drop a designated
   decision to discard data at a congested router is made . The 40 amount of data in the form of packets from the buffer to
   priority value has no meaning other than as a criterion for       make room for incoming data packets (block 857) .
   discarding packets on congested links . When an outgoing            In one embodiment, a queue is chosen randomly or in a
   link of a router has insufficient bandwidth to transmit all       round robin to have data dropped. In another embodiment,
   pending packets, it forwards only those packets with a the queue with the most data is chosen to have data dropped.
   designated priority or the highest priority. This technique is 45 In a further embodiment, a weighting factor is calculated to
   also applied to any data type , including audio / video data and determine which queue is selected to have data dropped. The
   financial data . Using this system , the packet priority num- weighting factor is based on the amount of data in a queue ,
   bers cannot be misused by sources to give their data packets size of packets in a queue and similar factors. The weighting
   a greater chance of prioritized transmission by giving them factor counteracts unfair distribution that is caused by select
   the highest priority to gain advantage over other sources . 50 ing    a queue by a round robin , random or similar method of
   Packet priorities are only compared between packets that are selection       . Data streams with large packets are unfairly
   part of the same data stream .
      In one embodiment, knowing that routers will use the amount ofbydataother
                                                                     affected              methods because a disproportionate
   packet priority numbers when making forwarding selections with smaller packets . Queuein selection
                                                                                      is dropped    comparison with other queues
   on congested parts of the network , a source carefully divides 55 the size and the amount of data thatis isalsointended
                                                                                                                     influenced by
                                                                                                                             to be
   its data packets over different layers or priorities, in a way
   that a subset of the layers still contain a useful, uncorrupted dropped    . A large queue that can drop close to the amount of
   representation of the data . This system is especially useful data desired is weighted for selection .
   when multicasting a live data stream with a high data rate to     In one embodiment, data is dropped if a total amount of
   a large number of receivers, scattered over a heterogeneous 60 data stored in all queues exceeds a threshold value . This
   wide area network . Receivers that are on congested parts of threshold value is set by an administrator or is a set value .
   the network will then receive the highest priority parts of the These systems enforce the fair allotment of bandwidth
   data only . This eliminates the need to lower the publishing between data streams. Also , this system implements the
   rate to match the slowest receiver, while still being able to prioritization of logical layers by dropping lower priority
   offer live , uncorrupted , thinned data streams to clients 65 level layers when congestion occurs . If the buffer is not full
   suffering from insufficient bandwidth . Example applications then the pipelines may continue to store data in the buffers
   of the system include audio and video codecs that divide live (block 851 ) .
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                                 23                                                                    24
      In one embodiment, while the queues grow in size as of the individual queues ( the largest queue should generally
   packets are received , a background thread constantly             be shrunk to keep resource division among the streams fair )
   dequeues packets from the queues and transmits them over and which queue can match the required size most accu
   the network .                                                     rately. This comes from the fact that individual packets can
      In one embodiment, the system that manages in- and 5 differ greatly in size , so removing the “ least urgent” packet
   output for the queues is divided in two parts. The first part from queue P could result in freeing 8 kilobytes , while
   is run by the background thread that constantly dequeues removing the “ least urgent ” packet from queue Q yields 40
   packets from the queues and transmits them over the net- bytes of space for example. Now if the queues in total
   work , while the second part is in charge of queuing new exceed the maximum size by only a couple of bytes , it seems
   packets that are to be transmitted. The latter also implements 10 logical to remove the small packet from Q. This policy
   the logic that defines when and which packet should be                comes with a consequence , namely that it implicitly pro
   discarded ( due to a buffer overflow ).                               motes the use of larger packets . After all , streams with lots
      The dequeuing part of the system , when selecting a packet         of very small packets are more likely to accurately match the
   for transmission , only looks at the first packet (most urgent)       amount of buffer space that must be freed than stream
   of each queue . To make sure each stream gets an equal share 15         queues with few very large packets . This property may
   of bandwidth , it takes the individual packet sizes into                encourage developers to use larger packets, increasing the
   account. When all packets ( note that only the first packet of          efficiency and throughput of the network . In short, when
   each queue is observed ) have equal size , the dequeuing                selecting a queue for shrinking, the system favors queues
   thread simply selects a random queue with equal probability             that will expunge the least amount of bytes in order to match
   and dequeues one of its packets. Since each queue has the 20            the total buffer capacity and are large compared to the others.
   same probability of being selected, each queue will deliver                In one embodiment, before the selection can be made, the
   an equal amount of packets per time unit . Hence , each                 absolute weight factor for each queue is computed. The
   source will transmit an equal amount of bytes per second . weight factor combines the queue's size and ability to
      Since individual packets can have any size between 1 and accurately match the overcapacity of the buffer by removing
   some determined maximum number of bytes , their size must 25 packets. The latter is exposed in v . It represents the sum of
   be considered when the transmit thread selects queues . the sizes of the packets that a queue must remove in order
   Queues with many large packets should generally have a to eliminate the buffer's overcapacity. For example, if a
   smaller probability of getting selected than queues with lots queue P has 10 packets of 100 bytes each while the buffer
   of small packets in order to keep the bandwidth division fair. currently has an overcapacity of 170 bytes ( suppose the
      In one embodiment, only the first packet of each queue is 30 maximum is 10000 bytes , while all queues combined add up
   considered to represent its queue and give it a probability of to 10170 bytes ), P would need to remove at least 2 packets
   setting selected that is reversely proportional to its size in ( 2 * 100 bytes ) . In this case , V , is 200. The formula to
   bytes . In an example where there are three queues, P, Q and compute the absolute weight factor of queue m is defined :
   R where the first packet in P is 100 bytes , the first packet
   from sender Q is 300 bytes , while the packet from R is 500 35
   bytes , to calculate the selection probabilities , first their                        }



                                                                                         ?i=0 vi Sm
   respective selection weights are defined . For example, the
   weight of the packet in P is computed by dividing the total                    Wm  =
                                                                                              Vm
   size of P, Q and R by P's size : ( 100 + 300 + 500 ) / 100 = 9 . Q's
   weight is 3 and R's weight is 9/5 . The weights are converted 40
   into selection probabilities by dividing them by the sum of In this formula , n represents the total number of queues, v
   all weights. This gives P a probability of 9 / ( 9 + 3 + 1.8 ) = 0.65 , represents the number of bytes that would be removed if the
   Q a probability of 0.22 and R of 0.13 . When a queue                  queue was selected and s represents the total size of a
   becomes empty after dequeuing, it is removed .                        particular queue. The formula captures the direct relation to
      In one embodiment, to keep the delay introduced by 45              queue size and the inverse relation to the amount of bytes
   buffering packets under control, the second part of the               that would be removed by the queue if it was selected .
   system enforces a maximum total queue size . The sum of all              When the absolute weight factors of all queues have been
   packets in all queues may never exceed this threshold . When          derived , they are converted to weighted selection probabili
   a new packet comes in , it is always accepted at first. If            ties . This is done by dividing the individual weight values by
   necessary a new queue is created for it , or it is added to its 50    the sum of all weights . The selection probability of queue m
                                                                         is expressed in Pm
   designated , existing queue . After adding a new packet, the
   total size of all queues is checked . If it is larger than the
   configured maximum , the algorithm runs a removal round in                         Wm
   which it first selects a queue and then tells that queue to                  Pm   n

   remove one packet. If the queues are still too big after 55                        ? w;
                                                                                     i=0
   removal of one packet , the process of selecting a queue and
   removing a packet is repeated iteratively until the total
   queue size is smaller than or equal to the configured maxi-   After the selection probabilities have been computed , a
   mum .                                                                 roulette - wheel algorithm is run to select a queue and let that
      In one embodiment, shrinking the queues is always done 60 queue remove its v bytes . If v is smaller than the current
   after a packet was added , never preemptively. The reason for overcapacity of the buffer in total ( note that this implies that
   this is to let the new packet immediately participate in the the selected queue became empty and was thus removed
   removal selection process, rather than discarding it or mak- automatically ), another selection round is done until the
   ing room for it at the expense of the other queues. Contrary buffers shrink sufficiently. Note that the queue selection
   to de -queuing packets , where the algorithm tries to select the 65 process is implemented as an atomic operation . During
   “ most urgent ” packet, we now need to select the " least selection rounds no new packets may be added to or
   urgent” one. This packet is determined by looking at the size removed from the queues.
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                                 25                                                                      26
      In one embodiment, the overlay multicast system is a                    The router's buffer interceptors copy packets to be stored
   layered multicast in combination with a scalable , selective            for retransmission . In one embodiment, localized packet
   packet retransmission mechanism to offer a service that can             repair in the overlay multicast system are implemented by
   meet the demands of real -time financial data and similar               adding an interceptor to both interceptor pipelines of each
   applications. Selective packet retransmissions are crucial so      5    interface and letting those interceptors simply store a copy
   that the overlay multicast system is guaranteed that sub-               of each packet. Additionally, when a retransmission request
   scribers will receive one or more layers that are completely            passes through the router on its way to the multicast source ,
   intact. When an occasional packet in a high priority layer is           the interceptor inspects the request packet and if it has the
   missed , it is repaired. However, the receiver may decide not           requested packet in its temporal packet store, it does not
   to attempt to recover missing packets from low priority            10   forward the retransmission request to the next interceptor.
   layers that are missing due to network congestion . Trying to           The requested data packet is injected into the network again .
   repair these layers would require additional bandwidth ,                   FIG.9A is a diagram of two router daemons connected by
   resulting in additional packet loss . Yet, as more end- to - end        a link . There are two interceptor pipelines 903 , 905 inside
   bandwidth becomes available , the receiver detects this and             each interface 907. Each interface contains both an outbound
   repairs additional layers , so more intact layers are delivered    15   903 and an inbound 905 interceptor pipeline . The latter
   to the application .                                                    processes packets received from the network , while the
      FIG . 8B is a flowchart of one embodiment of a process for           outbound pipeline processes packets just before they leave
   handling layer repair. In one embodiment, the overlay mul-              the router daemon . In one embodiment, the pipelines contain
   ticast system supports a receiver -side multicast socket that           two different interceptors; the CCI ( Congestion Control
   receives the raw packets from the multicast stream and is in       20   Interceptor) 909 and the PRI (Packet Retransmission Inter
   charge of repairing damaged stream layers before forward-               ceptor) 911. In another embodiment, a router daemon con
   ing them to the user application (block 801 ) . This method             tains additional interceptor instances per pipeline .
   includes a retransmission request packet. When the receiver                The CCI 909 implements bandwidth allocation rules and
   detects a missing packet in a layer that should be repaired             is responsible for discarding packets. During normal opera
   (block 803 ) , it sends a retransmission request for this packet   25   tion the source 913 publishes its multicast packet stream to
   towards the source ( block 805 ) .                                      its router daemon 901 (path 1 ) that sends the packets to all
      In one embodiment, detecting packet loss is done in the              interfaces that lead to interested receivers according to the
   conventional way by sequencing each packet with an incre-               multicast routing table . In the present example, the packets
   menting number. In another embodiment, each layer has its               are passed to the first outbound interceptor ( PRI ) of the
   own sequence number, so all packets in one layer are               30   interface ( path 2 ) . The PRI is responsible for storing a copy
   sequenced independent of the other layers. This way, packet             of each recoverable packet that is transmitted . It stores the
   loss is detected in each layer, regardless of the conditions            copies in the private temporary packet store 915 of its
   and packet loss in other layers.                                  interface ( path 3 ) . Then the interceptor passes the packets to
      To avoid a cascade of retransmission requests when a the next interceptor ( CCI ) (path 4 ) where it is buffered until
   packet is dropped close to the source, a tree - based negative 35 the connection link with the adjacent router daemon has time
   acknowledgment is used . This technique provides localized to transfer it .
   repair without communication with the source, because an             In one embodiment, if the packets are not dropped in the
   intermediate router that has a copy of the requested data outbound CCI , they are received by the neighbor router
   packet responds by sending it again and suppressing the daemon (paths 5 and 6 ) and sent through that router's
   retransmission request. When the next router closer in the 40 inbound interceptor pipeline 921 (path 7 ) . They first enter
   distribution tree receives the retransmission request it checks the PRI 923 (path 7) , which stores copies in its inbound
   its buffer to determine if the requested packet is still stored buffer 924 ( path 8 ) and then passes them on to the next
   therein (block 807 ) . If the requested packet is there, it is interceptor (CCI ) 925 ( path 9 ) where they are temporarily
   retransmitted (block 809 ) . If the packet is not in the buffer parked until the router's kernel 927 thread picks them up
   then the retransmission request is forwarded to the next 45 (path 10 ) and delivers the packets to the subscribed multicast
   router in the distribution tree toward the source (block 811 ). tsocket which forwards them to their next destination 929
      In one embodiment, when layers are dropped due to (path 11 ) .
   congestion, the programming API that is exposed to user                    FIG . 9B is a diagram of two router daemons connected by
   applications notifies the user by means of an exception or              a link where a retransmission is requested. If a packet is lost
   special return value when it is reading packets. These             50 in the outbound packet interceptor pipeline of the source
   notifications may not be fatal and only serve to inform the           router because the connection between the routers was not
   user that the quality of the stream has changed .                     fast enough to transmit all the packets, the receiving tsocket
      In one embodiment, localized repair works by having                notices the loss and send a retransmission request (path 1 ) .
   each router daemon store a window of transmitted packets.             The destination address of this unicast retransmission
   Packets are either stored for a fixed period of time , after       55 request packet is that of the multicast group . The network
   which they are discarded , or a fixed amount of buffer space          packet switching kernels recognize the retransmission pack
   is reserved to store the most recently forwarded packets .            ets and use the multicast group to route the packet towards
   Since the overlay multicast network by default use reliable           the source ofthe group . The retransmission request packet of
   connections between router daemons , packets never get lost           the example passes the router kernel 927 and reaches the
   while they are in transit between nodes . The only place           60 outbound packet interceptor pipeline 931 and goes into the
   where packets are purposely discarded is in the interface             PRI 933 (path 2 ) . This interceptor scans specifically for
   buffer interceptors. Thus, there is no need to buffer packets           retransmission requests and tries to answer them locally. To
   that were actually transmitted over the reliable connection ,           this end it inspects the packet, looks up the multicast group ,
   as those packets are guaranteed to have reached the neighbor            the stream layer identifier and the layer's sequence number
   node . In one embodiment, a router daemon copies packets to        65 and then checks the inbound packet buffer 935 to see if it
   its retransmission packet store before those packets reach a          contains the packet (path 3 ) . If this is not the case , the packet
   buffer interceptor that discards packets.                             is passed on to the rest of the interceptors ( path 4 ) and
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                                 27                                                                       28
   eventually transmitted to the adjacent router (paths 5 and 6 )              In one embodiment, time to live values are adjustable per
   where it is fed to the inbound interceptor pipeline 941 (path            router, set system wide or similarly configured . A short
   7) .                                                                     time -out minimizes storage requirements, but will also lead
          In one embodiment, the PRI 943 checks the interface's             to more overhead towards the source as more retransmission
   outbound packet buffer 945 (path 8 ) and finds the multicast 5 requests need to be propagated further upstream . Large
   packet that was dropped by the congested outbound CCI 909                timeouts will be more tolerant to late retransmissions, but
   earlier. It is then re - inserted into the outbound packet stream        require more storage . When a time - out of 60 seconds is used
   via the outbound PRI 911 ( path 9 ) . The retransmission                 by the routers that means a lost packet can still be recovered
   request packet is then dropped and not forwarded any                     after a minute . However, when the data stream contains
   further
         . Assuming the packet is not dropped again, it travels 10 real-time data such as stock quotes, such a delay in delivery
   the normal way towards the receiver ( paths 10 , 11 , 12 , 13 ) .
   In one embodiment, the receiver's PRI sees the multicast      cannot be tolerated . Problems get worse if the data packets
   packet for the first time and stores a copy in its outbound also have to be delivered to the user applications in their
   packet buffer ( path 14 ) . The packet then continues on to original order. In that case the user does not receive any data
   destination 929 (paths 15 , 16 , 17) . This mechanism of 15 for up to a minute while the missed packet is recovered and
   unicast retransmission packets and interceptors that offer tenall newer packets are waiting for it . In one embodiment, a
   localized repair is flexible in the way that not all router        second timeout setting is utilized .
   daemons need to support local packet repair. A router that       If all routers in the network use the same time - out value ,
   does not support it simply forwards the requests and lets the there is no use in propagating these requests as the upstream
   upstream routers handle them . The network as a whole 20 routers are likely to have purged their copies as well . To
   becomes more efficient when more routers support it .           avoid nack - implosions from slow receivers right after a
      In one embodiment, because storing a copy of every packet is purged , each router interface remembers which
   multicast data packet requires storage capacity, the overlay packets it has purged. When a retransmission request is
   multicast system links the packet buffers of the packet received for such a packet, the interface may respond by
   retransmission interceptors to a central data structure that 25 sending a special packet to the receiver that indicates that the
   will only store unique packets . This is done because in                 requested packet had timed - out and cannot be recovered
   multicast transmissions a router that is a branch point in the           anymore . The retransmission request in this scenario is not
   multicast distribution tree otherwise ends up storing at least           propagated further upstream . When a receiver gets this
   three copies of every data packet. This is because the packet            timeout notification , it knows it will not have to wait any
   is received on one interface and sent out over at least two         30   longer for the missed packet . It will notify the user appli
   other interfaces. If every interface would individually store            cation of the fact that data was lost and continue to deliver
   its packets, the inbound packet buffer of the receiving                  the next packets. Whether or not an application can tolerate
   interface as well as the outbound packet buffers of the                  packet loss will depend on the type of content. Audio and
   forwarding interfaces contain the same packets .                         video will usually not be severely impacted by the loss of an
      In one embodiment, the central packet store eliminates           35   occasional packet, while real - time stock quotes become
   duplicate packets by storing each packet only once and by                dangerous to use when it is not known what quote was lost .
   keeping reference tables that point to packets for every                    In one embodiment, where layered multicast is combined
   interface . When an interface buffer stores a new packet in the          with localized packet retransmission, a service is realized
   central store , while that same packet was already stored by             that applies packet recovery only to those layers that can be
   another interface, the central packet store merely adds a           40   delivered with the current bandwidth capacity. When the
   pointer to that packet instance to the interface's packet                network has insufficient resources to deliver all layers of a
   reference table .                                                        stream , it is beneficial if the receivers know this and will not
      In one embodiment, each entry in the reference tables has             attempt to repair all missed packets from all layers. Instead ,
   a time - out attached to it . This is to ensure packets are only         the receivers may use a mechanism that provides them
   temporarily stored . In one embodiment, the same packet             45   feedback about the current network capacity and use that to
   could pass different interfaces at different times . The time-           decide for which layers it will recover missed packets . The
   outs are not attached to the packets in the central store but            algorithm monitors the status of the total stream and from
   rather to the packet references in the interface reference               this information derives how many layers of the stream can
   tables . In one embodiment, packets are only expunged from               be reliably delivered to the user without stressing the net
   the central store when all references to the packet have timed      50   work . It then marks these layers as being intact, reliable or
   out . Another optimization that can substantially reduce the             similarly labeled and sends retransmission requests when an
   amount of required storage space is to only store packets that           occasional packet is lost from these layers.
   were explicitly discarded by the Congestion Control Inter-                  In one embodiment, the algorithm only delivers packets
   ceptors ( CCI ) because of bandwidth constraints. Storing                from the reliable layers to the application, but not before
   other packets has little value , as those are guaranteed to have    55   they have been put back into their original global order. In
   arrived at the next router. No retransmissions may be                    order for the algorithm to decide which layers are safely
   requested for them unless some non - deterministic packet                marked as intact, it requires some status information about
   loss occurs as a result of a crashing node .                             the reception of the stream as a whole as well as the network
      In one embodiment, if a packet was lost close to the                  conditions . To provide this, every packet contains the num
   multicast source and because of this and all receivers              60   ber of the most recent packet from all other layers or similar
   simultaneously send a retransmission request, the upstream               sequence data . Aside from carrying its own sequence num
   routers still apply conventional negative acknowledgement                ber, each packet contains the current sequence number of all
   “ nack ” suppression techniques to combine all concurrent                the other layers as well . By inspecting these sequence
   retransmission requests from its child links into a single               numbers each time a packet arrives, the receiver determines
   request that is forwarded upstream towards the source .             65   whether it has missed any packets from the layers it marked
   Applying local packet stores at every router reduces the                 as reliable . If that is the case , these packets may be recov
   latency of packet recovery.                                              ered . Each time a missed packet is detected, a countdown
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                                  29                                                                      30
   timer is started for it . If the packet is recovered before the     This causality information adds overhead to each packet,
   time - out expired, the timer is canceled and removed .          linearly related to the number of layers used in the stream .
      If however the timer manages to expire, the layer is For example , when sequence numbers are 32 bits and the
   considered impossible to repair and may be , together with all publisher uses all 256 available layers, each packet comes
   higher reliable layers ( lower in priority ), removed from the 5 with a kilobyte of causality information, which contributes
   list of reliable layers. How long the time - out interval should to at least 12.5 % for an 8 Kb packet that is filled to the brim .
   be can be application or content dependent. The interval To ease layer administration in the receiver socket, an
   determines how long delay is tolerated by the user . Setting overlay multicast stream only supports a static number of
   the interval to a low value means a temporary congestion 10 layers. When a publisher binds a multicast group address for
   may corrupt a layer long enough to cause the receivers to reliable, layered communication, it may explicitly specify
   drop it . Since packets occasionally get lost when unicast the number of layers that will be used .
   routing tables converge , changing the shape of multicast           In one embodiment, by default, packets are delivered to
   distribution trees , or when a router crashes that had pending the user application in their original order. Not only are the
   packets in its interface buffers, appropriate time - out values 15 packets inside the individual layers restored to their natural
   are adjustable by an administrator according to network order using their sequence numbers, but the total ordering
   conditions to be found experimentally.                             across the layers may also be restored . When the source
      In an overlay multicast network that uses packet priori- sends three packets with different priority (each in a different
   tization, routers explicitly introduce out of order delivery layer ), all three are received by the user application in the
   when a burst of packets queues in the outbound interceptor 20 exact same order . A prioritized, layered packet is described
   pipeline of a router interface with a slow connection . The as P1 (9,4, 6) where 1 represents the packet’s priority or layer,
   time - out may be large enough to allow for this . Setting the 9 the sequence number of the last packet of layer 0 (the
   time - out to a long period makes the stream much more highest priority layer) that was sent at the time this packet
   resilient to congestion , but also increases the time for the was published , 4 represents the sequence number of this
   receiver to discover that a layer must be dropped due to 25 packet and 6 represents the sequence number of the last
   bandwidth constraints . Until congestion is finally detected , packet of layer 2. Also , the packet tells that the stream uses
   delivery of the previously received packets that causally 3 layers in total : layer 0 up to and including layer 2. It is
   depend on missed packets is postponed. Starting timers concluded that this packet causally depends on packet 9
   when packet loss is detected allows for congestion detection . from layer () and packet from layer 2 and will only be
   However, it cannot be used to guarantee low end- to - end 30 delivered to the user application after those packets have
   latency.                                                           been delivered . In another embodiment, the overlay multi
      When no packets are lost and all are received according cast system does not reorder the packets, but may leave this
   to their global ord the receiver cannot measure the total              task to the application using the network .
   transmission delay. As such, a receiver cannot distinguish                FIG . 10 is a diagram that shows one embodiment of a
   between an idle and a crashed source . In one embodiment, 35 process of selective packet repair and ordering. For purposes
   aside from removing layers from the reliable - list , the algo- of explanation the notation { 0 ( 9 , 2 , 6 ) ; 19, 3 , 6 ) , ... } to
   rithm is also able to detect when more bandwidth becomes               describe a sequence of packets where Po ( 9 , 2 , 6 ) was sent
   available and new higher layers can be added to this list , so         prior to P1 ( 9,3 , 6 ) , is used for sake of convenience . The first
   that a higher quality stream can be delivered to the user . This       segment 1001 , shows the sequence of packets originally
   is done by passively or actively monitoring the layers that 40 published by the source. It reads from left to right, so
   are not currently in the reliable -list and not under repair. Po ( 9 , 2 , 6 ) was published first, followed by P1 ( 9 , 3 , 6 ) , etc. In
   Every time a packet is received from these layers, this fact this example the source has published eight packets, divided
   is stored for a period that is equal to the repair time - out over three priority levels or layers ( 0 , 1 and 2 , where 0 is the
   discussed earlier. When a packet from a layer is received lowest layer with the highest priority ). The second segment
   with sequence numbers that shows that a packet has been 45 1003 shows the packet stream as received by one of the
   lost from a higher layer that is not in the reliable list , no subscribers. It shows two lost packets and an incorrect
   retransmission request is sent, but the fact that this packet ordering. Before the packets are delivered to the user appli
   should have been received is recorded and stored for the               cation , they are stored in internal buffers during the repair
   same repair time - out period .                                     and reordering process . This state is depicted in segment
       If during the time - out period the packet is received after 50 1005. Here the packets are in separate buffers, each repre
   all , possibly because it was delayed by a router, the stored senting a layer. The packets are ordered inside the buffers.
   record is marked as received . Because the state of each The illustration shows the missing packets P1 (9 , 4 , 7 ) and
   packet from every layer is recorded, the overlay multicast P2 (9, 4, 8) .
   system builds a packet arrival history that is used to deter-         If the receiver currently only has layers 0 and 1 in its
   mine whether the reception quality was high enough to add 55 reliable - list, it will attempt to repair the hole in layer 1 by
   a higher layer to the reliable -list and repair any further sending a retransmission request. Note that if the given
   packet loss . In the overlay multicast system the reception sequence was just a snapshot of a running stream , the
   history or similar data may be used to calculate a moving receiver would have detected the missing packet P1 (9 , 4 , 7 )
   average that describes the amount of packet loss over the last         when Po ( 10 , 4 , 8) was received , because this packet says it
   X seconds, where x is equal to the repair time-out. With a 60 depends on packet #4 from layer 1. So even before
   small moving average history , the receiver will quickly P 1, ( 10 , 5 , 9 ) from layer 1 was received in our example , the
   respond to increased network capacity, while a longer his- receiver already detected loss in layer 1 and immediately
   tory will only add layers when the network's capacity was scheduled a repair timeout for the missing packet and sent a
   sufficiently high for a longer period of time . The receiver retransmission request. In fact, if it is assumed that the
   may keep track of the reception quality of each layer by 65 receiver had received packet # 2 from layer 1 prior to our
   inspecting the list of sequence number that is attached to snapshot of FIG . 10 , then the conclusion would be that
   each data packet.                                            packet # 4 as well as packet # 3 were lost .
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      In the example, shortly after P. ( 10 , 4 , 8 ) was received ,          In one embodiment, because the reordering process adds
   packet P1(9,3, 6)is received . The receiver places the delayed
   packet in the appropriate receiver buffer and cancels the
                                                                       additional delay to the data delivery, it can be switched off
                                                                       by applications that do not benefit from it . Without reorder
   repair time-out it started earlier when it detected that the ing , global (causal relations between packets from different
   packet was missing . This is illustrated in segment 1007. 5 layers) and local ordering ( order of individual packets inside
   Note that the hole in layer 2 may also be detected when Po a single layer) is ignored and packets are delivered to the
   ( 10 , 4 , 8 ) is received , as that packet claims to be sent after application immediately after they have been received . Dis
   packet # 8 of layer 2 was published, so either packet # 8 from           abling reordering has no impact on the reliability. Lost or
   layer 2 got lost in the network , or was delayed. However,               delayed packets may still be recovered for all layers the
   since layer 2 is not in the reliable - list, a retransmission       10   reliable - list, only the recovered packets may be delivered
   request is not sent. However, as for all packets, a timer is             with additional delay. Whether or not this makes them
   started for packet # 8 of layer 2. When the user application             useless is up to the application to decide .
   is ready to read packets, the algorithm returns only packets                For example, with market data it is useful to know
   from layers that are in the reliable - list . Even though some of        whether an update is older or newer than the one previously
   the layer 2 packets were received, they are discarded and not       15   received . This is because a stock quote may be overwritten
   delivered . The resulting stream of packets that is delivered            by a newer one , but not the other way around . In this case ,
   to the user is equal to the stream originally published by the           the source could add a logical time stamp or similar
   source , with all layer 2 packets removed .                              sequence indicator to each stock quote , so the receiver can
      In this example , despite the fact that the network has               decide how to handle the update. In one embodiment, aside
   insufficient capacity, having dropped packets from every            20   from configuring a layered multicast tsocket to restore
   layer and delivered the packets out of order, the user                   global ordering or no ordering at all , a receiver can configure
   received a deterministic subset of the stream that is uncor-             a tsocket to only restore local ordering. Whether or not this
   rupted . Because the overlay multicast system sources are                is useful will depend on the type of application and the
   live data streams that cannot slow down or pause and                     content, but it offers the advantage that delivery of packets
   because real- time data are not buffered by the source too          25   from lower ( high priority ) layers are not delayed during
   long , receivers will only attempt to recover lost packets for           recovery of packets from higher, lower priority layers.
   a limited period of time . Whether a packet is received ,                   In one embodiment, an example market data publishing
   recovered or lost , its buffer slot will be freed after this             application tracks market financial updates in a linked list or
   timeout, resulting in a natural size limit of the receive buffer.        similar data structure. Every time a new update is received ,
   How large the buffer can get is related to the average speed 30          it is stored in the appropriate slot , overwriting the previous
   of the stream and the length of the repair time - out .                  update . This way, the linked list always contains the most
     In one embodiment, the algorithm implementation does                   recent trade for every symbol. A virtual token traverses the
   not enforce a hard size limit during packet repairs. A more              list a fixed speed . If the stream is to be thinned one
   troublesome situation occurs when the user application does              update per second , the token will visit one slot every second .
   not read data from the socket fast enough . When this 35 When the token visits a slot , it removes the quote update and
   happens, the amount of pending data builds up in the socket forwards it , leaving an empty slot . Empty slots will be
   and both storage requirements and the transmission delay skipped by the token without any delay. When one of the
   increases . In one embodiment, this may be handled by symbols has two updates per second in the incoming stream ,
   removing a layer from the reliable - list, causing those packets the second incoming update after the last visit of the token
   to be discarded from the buffers, while decreasing the 40 will overwrite the update pending in the slot and the older
   amount of data that is delivered to the application. If a clean pending update is dropped . This allows the leaky bucket
   feedback algorithm that can keep the number of layers in algorithm to always provide the thinned clients with the
   balance with the application’s reading speed is not used , the most recent, live update of every symbol. While the virtual
   overlay multicast system throws a fatal exception to the user token visits the slots that have a recent quote update pending
   or provides a similar indicator to the user application and 45 to be sent out , a thread receives the incoming market data
   closes the socket when the receive buffer reaches a certain      stream and inserts new trades in the slots . To limit the
   maximum size , or when the total time between arrival of outgoing transmission rate to one quote per second , the
   packets and their actual delivery reaches a threshold .          token thread sleeps for one second after it moved and sent
      Although restoring the original global packet ordering an update from a slot . When the token is able to complete
   before delivering the data to the user application is assumed 50 one full circle between two incoming updates of every
   to be appropriate for most types of data, there is content for symbol, there will be no data loss . Instead of limiting the
   which each packet invalidates all previous packets. This is outgoing bandwidth to a fixed maximum , the dequeuing
   the case for stock quotes and similar time sensitive data . For thread could also be configured to run as fast as possible ,
   example , when a new stock quote update is received for a relying on external feedback such as a blocking write call
   financial ticker symbol, it renders the previous updates 55 from the network , to reduce publishing speed . This could be
   useless . For most applications that process real- time finan- particularly useful when the algorithm is used on the server
   cial data, only the most recent information is interesting. side of a point- to -point TCP connection to a client applica
   When global ordering is restored , the algorithm will post- tion . In one embodiment, the server uses the algorithm to
   pone the delivery of the most recent data until all prior send the data at original speed , until network saturation
   packets have been received also . For a typical application, 60 slows down the links. A potential problem with this tech
   such as a market data terminal, that merely displays quote nique is that the original order of the updates is lost . In fact,
   updates to the screen , this postponing adds little value . When when every symbol updates more than once while the token
   the burst of pending updates is finally delivered by the circles the list , the token will find every slot filled with a
   tsocket , the application updates the symbol's last value on quote update, causing the order of the output stream to
   the screen , thereby leaving only the last and most recent 65 match the fixed order of the slots in the linked list . For quote
   update visible and overwriting all pending updates imme- updates from different symbols, this is usually not a prob
   diately .                                                                lem , as they are not related to each other.
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     In another embodiment, an alternative algorithm may be                  ring, while the ‘ MSFT ’ symbol is so volatile that it shifted
   used that provides another way of thinning a stream of data ,             updates into all three layers before the tokens could dequeue
   such as live market data, with varying bandwidth to a fixed               any of the pending updates .
   maximum rate , without the risk of providing stale data , for               In a case where a symbol is so actively traded that it
   example stale market symbols. This algorithm may be used 5 manages to shift an update out of the top ring, that update is
   to produce enhancement layers that form a layered data irrecoverably lost . If required , loss of updates can be
                                                                             avoided by letting the token in the top ring run without
   stream , such as a layered market data stream . One example               dequeuing delay , letting it empty every slot immediately
   method of doing this is to have several instances of the                  after an update was queued. The result is that the transmis
   algorithm running that each receive a copy of the input              10   sion rate of the upper layer will equal the transmission rate
   stream , letting their token run at different speeds and tagging          of the original stream , minus the combined rate of all lower
   their updates with a layer number. The layers may then be                 layers. Because the transmission rate of the lower layers may
   combined into a single stream . Unfortunately, this may                   have a fixed maximum , the upper layer's rate may fluctuate
   introduce redundant information in the stream because the                 and follow the variations of the original stream .
   higher layers contain updates that are also available in the         15     In one embodiment, if the tokens all rotate at the same
   lower layers . This technique of encoding an entire stream in             speed , this does not imply that they visit the same symbol
   different qualities and sending them to clients concurrently slots at the same time . Instead , they will usually be at
   to meet their individual bandwidth capacities may be that         different positions in their ring . This is a result of empty slots
   referred to as simulcasting.                                            are skipped without waiting .
      In one embodiment, the thinning algorithm may be modi- 20 out ofoneorder
                                                                        In       embodiment, the layered thinning algorithm has
                                                                                     transmission and may cause additional delay.
   fied to have each layer contain only information that is not Every
   already present in the lower layers, thereby eliminating certainring            can contain an update for the same symbol at a
   redundancy among the layers. To achieve this the leaky column time                 and because the tokens can have different
   bucket algorithm may be extended to a multi -level ring as will dequeue andinside
                                                                               locations        their ring, it is undefined which ring
                                                                                           transmit its update first, which will be
   illustrated in FIG. 11B, creating a virtual cylinder of verti- 25 second and so on . This means that not only the order of
   cally stacked, circular lists , where each ring represents a symbols is shuffled, but even the updates for a single symbol
   layer of the output stream . Each ring has its own token . In are        no longer guaranteed to be transmitted chronologically.
   one embodiment, the tokens all circulate their ring at the
   same speed . In other embodiments, the tokens in each ring sent out , new
                                                                           While       updates for a symbol are queued, shifted and
   may be set to circulate at different speeds . This data structure 30 substantially longercases
                                                                                  in  some        an update can survive in the rings
   also identifies columns. A column is the collection of ver occur when an updatethan             its younger successors . This can
   tically stacked slots that can all store an update for the same the token, gets shifted to theis just
                                                                                                that        about to be dequeued by
                                                                                                        next layer by a more recent
   symbol.
      FIG . 11A is a diagram of an example method of thinning update            that entered through the lower ring. In this case it is
                                                                        likely that the more recent update is dequeued sooner than
   asymbols
      streamforofwhich
                  live amarket   data. update
                         recent quote  The gray   slots represent
                                              was received , while 35 the older update that now has to wait for the token of its new
   the transparent slots are empty . FIG . 11B is a diagram           ring to reach its slot . To address this issue , the system
   illustrating the token ring data structure . Multiple instances provides
                                                                      in the
                                                                                   a way of putting the outgoing, layered updates back
                                                                             original     , chronological order. This is done by labeling
   of the thinning algorithm and data structure may be con incoming updates                       with sequential numbers and having the
   ceived as being vertically stacked, each instance represents 40             pass their dequeued , labeled updates to a transmit
   a stream layer and each symbol has a column that can store tokens  window that uses the sequence numbers to restore the
   more than one update. FIG . 11C is a diagram of one chronological
   embodiment of a representation of the stacked thinning upper ring andorder                       . When updates are shifted out of the
   algorithm of FIG . 11A at work . In the example, the gray slots dow is notified not to waitconsidered
                                                                                              therefore                 lost , the transmit win
                                                                                                             for their sequence numbers.
   contain a pending quote update , while the transparent slots 45 When applying order reconstruction                      across all rings, the
   are empty. The illustration shows how the updates of a transmit window must have the same capacity                                as all rings
   volatile symbol are spread out over several higher layers.
      In one embodiment, the thinning algorithm has a single of the transmit window , N the number of symbolscapacity
                                                                      combined      , size  , v = N.j , where sizemy is the  maximum
   input thread that receives the original stream . Newly original stream ( and therefore the number of slots perinring                       the
   received updates may be inserted in the lowest ring . If a new 50 and j the number of layers used . The potential size of the)
   update arrives for a slot in the lowest ring that already transmit window , together with its bursty behavior when a
   contains an update for that symbol, this older update is
   vertically shifted into the next ring, so that the lower slot can delayed     quote update releases a substantial amount of pend
   always store the latest update . Once an update is shifted applies orderfrom
                                                                      ing updates                the window , may justify a mechanism that
                                                                                           reconstruction      to achieve chronologic trans
   upwards, it cannot return to a lower ring anymore , even if all 55 mission per symbol only , similar             to the output of the base
   other slots beneath it were emptied.                               layer  encoder    .
      In one example embodiment, symbols that have more                  Like the algorithm depicted in FIG . 11A , the layered
   than one trade during the time it takes the token to complete system         introduces delay. The model is essentially a collec
   a full rotation of the ring will be spread out to two or more tion of instances               of the first algorithm , thus, its worst case
   higher layers, while symbols that have very infrequent 60
   trades will only occupy a single slot in the bottom ring. An delay is the sum of each ring's worst case delay:
   example result of this process is depicted in FIG . 11C . FIG .
   11C shows the thinning algorithm using three layers to thin                                  N
   a market data stream that contains updates for eight symbols.              Imax
                                                                                           fupdate (i)
   Four symbols are included in data structure and assigned to 65                         i =0

   the four visible columns in the front. The figure also shows
   that all four symbols have pending updates in the bottom
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     where tmax is the maximum delay in seconds that the                  selectively forwarding one or more of the set of enhance
   algorithm could introduce for a single quote update, N the            ment layers , but fewer than all of the set of enhance
   number of symbols in the original stream , j the number of            ment layers , to at least two of the plurality of video
   used layers and fupdate (i) the update frequency of the token 5       receivers through the internet protocol network based
   in layer i .                                                          upon the identified bandwidth - limited conditions ;
      In the foregoing specification , the invention has been         wherein the layered video data stream is transmitted
   described with reference to specific embodiments thereof. It          according to an internet protocol; and
   will however, be evident that various modification and             wherein each layer of the layered video data stream
   changes can be made thereto without departing from the                comprises data packets, each of which is encoded with
   broader spirit and scope of the invention as set forth in the 10      a sequence number and a layer identifier, and wherein
   appended claims . The specification and drawings are ,                the layer identifier for each data packet is based upon
   accordingly, to be regarded in an illustrative rather than a          a layer to which the packet belongs.
   restrictive sense .                                                7. The method of claim 6 , wherein the selectively for
                                                                    warding step further comprises:
     What is claimed is :                                          15     selectively forwarding the one or more of the set of
     1. A video router, comprising:                                          enhancement layers based on video processing capa
     a memory ; and                                                          bilities of the video receiver.
     a processor, wherein the processor executes instructions             8. The method of claim 6 , further comprising:
        stored in the memory to cause the video router to :               dividing available bandwidth among a plurality of data
     receive a layered video data stream including a base layer 20      streams; and
        and a set of enhancement layers,                             prioritizing the set of enhancement layers for the selec
     identify bandwidth - limited conditions of an internet pro-        tively forwarding step .
        tocol network between the video router and a plurality       9. The method of claim 6 , wherein the selectively for
        of video receivers,                                        warding step further comprises:
     forward the base layer from the video router to at least two 25 selectively forwarding the one or more of the set of
        of the plurality of video receivers via the internet                enhancement layers based on a request for retransmis
       protocol network , and                                               sion of one or more data packets from the layered video
     selectively forward one or more of the set of enhancement              data stream .
        layers, but fewer than all of the set of enhancement             10. The method of claim 6 , wherein the layered video data
        layers, to at least two of the plurality of video receivers 30 stream is received from another video router .
        through the internet protocol network based upon the             11. A scalable video coding router, comprising:
        identified bandwidth - limited conditions, and wherein           a memory ; and
        the video router transmits the layered video data stream         a processor, wherein the processor executes instructions
        according to an internet protocol;                                  stored in the memory to cause the scalable video coding
     wherein each layer of the layered video data stream 35                  router to :
        comprises data packets, each of which is encoded with                receive a layered video data stream that comprises a
        a sequence number and a layer identifier, and wherein                  base layer and a set of enhancement layers,
        the layer identifier for each data packet is based upon              identify bandwidth - limited conditions of an internet
        a layer to which the packet belongs .                                   protocol network between the video router and a set
     2. The video router of claim 1 , wherein the video router 40               of video receivers, and
   further selectively forwards the one or more of the set of                forward the base layer from the video router to at least
   enhancement layers based on video processing capabilities                    two of the set of video receivers;
   of the video receiver .                                                wherein the scalable video coding router forwards all of
      3. The video router of claim 1 , wherein the video router              the set of enhancement layers to at least two of the
   divides available bandwidth among a plurality of data 45                  video receivers in the set of video receivers with
   streams, and wherein the video router prioritizes forwarding              bandwidth - sufficient conditions;
   of the set of enhancement layers.                                      wherein the scalable video coding router selectively for
     4. The router of claim 1 , wherein the video router further             wards one or more of the set of enhancement layers , but
   selectively forwards the one or more of the set of enhance-               fewer than all of the set of enhancement layers , to at
   ment layers based on a request for retransmission of one or 50            least two of the remaining video receivers in the set of
   more packets from the layered video data stream .                         video receivers based upon the identified bandwidth
     5. The video router of claim 1 , further comprising:                    limited conditions;
     a communications link connecting the video router with at            wherein the layered video data stream is transmitted
        least a second video router, wherein the layered video               according to an internet protocol; and
        data stream is transmitted over the communications 55             wherein each layer of the layered video data stream
        link between the video router and the second video                   comprises data packets, each of which is encoded with
        router .                                                             a sequence number and a layer identifier, and wherein
     6. A method for transmitting video signals , the method                 the layer identifier for each data packet is based upon
   comprising:                                                               a layer to which the packet belongs .
     receiving a layered video data stream comprising a base 60           12. The video router of claim 11 , wherein the video router
        layer and a set of enhancement layers ;                 further selectively forwards the one or more of the set of
     identifying bandwidth - limited conditions of an internet          enhancement layers based on video processing capabilities
        protocol network between a video router and a plurality         of each of the set of video receivers .
       of video receivers;                                            13. The video router of claim 11 , wherein the video router
     forwarding the base layer to at least two of the plurality 65 divides available bandwidth among a plurality of data
       of video receivers via the internet protocol network ; streams, and wherein the video router prioritizes forwarding
       and                                                         of the set of enhancement layers.
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     14. The video router of claim 11 ,
     wherein the video router further selectively forwards the
       one or more of the set of enhancement layers based on
        a request for retransmission of one or more packets
        from the layered video data stream .                     5
     15. The video router of claim 11 , further comprising:
     a communications link connecting the video router with at
        least a second video router, wherein the layered video
       data stream is transmitted over the communications
       link between the video router and the second video 10
       router.
